     CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 1 of 44



                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MINNESOTA


NATIONAL CREDIT UNION
ADMINISTRATION BOARD, As                                     Civil No. 16-cv-00139 DWF/LIB
Liquidating Agent of St. Francis Credit Union,
                                                 DECLARATION OF JAMES F. BALDWIN
                      Plaintiff,                   IN SUPPORT OF OPPOSITION TO
                                                  PLAINTIFF’S MOTION TO COMPEL
       v.

CUMIS INSURANCE SOCIETY, INC.,

                      Defendant.


STATE OF MINNESOTA            )
                              ) ss
COUNTY OF HENNEPIN            )

       James F. Baldwin, first being duly sworn on oath, states as follows:

       1.     I am a shareholder with the law firm of Moss & Barnett, A Professional

Association, and one of the attorneys who represents Plaintiff National Credit Union

Administration Board in the above-referenced matter.

       2.     Attached hereto as Exhibit A is a true and correct copies of pages 39-41, 66-67,

75 and 112-113 of the June 28, 2017 deposition transcript of Robert D. Roach, Senior Trial

Lawyer for the National Credit Union Administration.

       3.     Attached hereto as Exhibit B is a true and correct copy of Sleep Science

Partners, Inc. v. Avery Lieberman, et al., No. C 09-4200, 2010 WL 4316687

       4.     Attached hereto as Exhibit C is a true and correct copy of Murata Mfg. Co.,

Ltd. v. Bel Fuse, Inc., No. 3 C 2934, 2007 WL 781252.

       5.     Attached hereto as Exhibit D is a true and correct copy of PETCO Animal

Supplies Stores, Inc. v. Insurance Co. of N. Am, No. 10-682 (SRN/JSM) 2011 WL 2490298.
       CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 2 of 44




I declare under penalty of perjury that everything I have stated in this document is true and
correct.

Dated: August 17, 2017                        Executed in Hennepin County, Minnesota



                                              s/James F. Baldwin
                                              James F. Baldwin
3772809v1




                                                 2
CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 3 of 44




              EXHIBIT A
     CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 4 of 44


     ROBERT ROACH                                               June 28, 2017
     NCUA vs CUMIS INSURANCE SOCIETY                                       39

 1                        MR. NEALON:   Sure.
 2                        (Brief discussion held off the record.
 3          Q.     (BY MR. NEALON) All right.       So Exhibit No. 4
 4    is consistent
 5          A.    Uh-huh.
 6          Q.    -- with your earlier testimony that you
 7    forwarded this information on to Ms. -- Ms. Murphy and
 8    it turns out also to Ms. Martin, correct?
 9          A.    Yes.
10          Q.    Okay.     So on the day that you got the phone
11    call from Mr. Leake, you told mister -- get the names
12    right -- you told Mr. Barton, you told Mr. Klein, you
13    told Mr. Ianno, you told Ms. Murphy, and you told
14    Ms. Martin, correct?
15          A.    By email, yes.
16          Q.    And you provided each of them a copy -- I
17    don't -- of the -- of the electronic copy of CUMIS's
18    letter and a copy of the check, cor --
19          A.    Yes, I did.
20                        MR. NEALON:   Okay.   Let's mark this as
21    dep
22          Q.    (BY MR. NEALON) Well, let me just ask you
23    then, what is the next thing that happened as best you
24    remember with respect to the St. Francis matter after --
25    on or after June 10th, 2015?


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     CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 5 of 44

     ROBERT ROACH                                               June 28, 2017
     NCUA vs CUMIS INSURANCE SOCIETY                                       40

 1            A.      Sometime thereafter - it wasn't a long period
 2    of time, but I just don't remember the exact number of
 3    days, or it might have even been a couple of weeks, but
 4    it -- it's one of those - I received a call from John
 5    Ianno who wanted me to get involved in the St. Francis
 6    case to the extent of getting -- or retaining the
 7    services of an outside law firm to help with this
 8    matter.
 9            Q.      Okay.    And -- And you say it was -- it was not
10    a long time; it could have been as much as a couple of
11    weeks, correct?
12            A.     And I -- I went back and reviewed that and --
13    you know, and I'm trying to re            I -- I had the date
14    written down somewhere in a legal pad or whatever and I
15    don't have it with me, but, I mean, it could have been a
16    week.        It really wasn't a very long period of time
17    when
18            Q.     So sometime in June of 2000 --
19            A.     Yes, sir.
20            Q.     -- 15, you
21            A.     Yes, sir.
22            Q.     -- recei      We start with June 10th --
23            A.     Uh-huh.
24            Q.     -- is the phone call from Ray Leake --
25            A.     Uh-huh.


                                                         800.211.DEPO (3376)
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     CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 6 of 44

     ROBERT ROACH                                                    June 28, 2017
     NCUA vs CUMIS INSURA NCE SOCIETY                                           41

 1          Q.    -- and we have our -- well, you've described
 2    for me who you contacted
 3          A.    Uh-huh.
 4          Q.    -- by email, and then some -- sometime later,
 5    a few days perhaps, but in June of 2015, you got a
 6    follow-up call from Ianno asking for your help in
 7    retaining outside counsel.                Is --
 8          A.    Yes, sir.
 9          Q.    -- that a fair statement?
10          A.    Yes.
11          Q.    Okay.            And in between those two events did
12    anything happen in connection with St. Francis that
13    involved you as best you recollect?
14          A.    Not that I remember.              I mean, that -- I don't
15    want to be a broken record because at that time it just
16    wasn't my case, particularly in a -- any factual matter.
17          Q.    All right.              Do you remember whether or not you
18    received the original CUMIS letter and check at some
19    point during that period of time?
20          A.    There's some contention involved now within
21    the agency and that -- and -- and here's the reason why.
22    I may or may not have.                I clearly got a copy, and the
23    reason I -- I               Maybe I shouldn't use the word
24    "contention," but the                 the reason I don't specific
25    specifically remember why it's a copy or the original is


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     CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 7 of 44

     ROBERT ROACH                                               June 28, 2017
     NCUA vs CUMIS INSURANCE SOCIETY                                      66

 1          A.    I --
 2          Q.    -- how it was received?
 3          A.    I do not.
 4          Q.    You're pointing as if you -- you were thinking
 5    of something.
 6          A.    Well, I       You know, you're always careful to
 7    answer correctly.       I didn't see a copy of this or become
 8    aware of this until some date later, and it was referred
 9    to by some other AMAC personnel as being confusing
10    because they had more than one check, and that's what I
11    remember, and let me go back again and reiterate that
12    although probably by this time I was involved in this
13    case but only to the extent of obtaining outside
14    counsel, I had nothing to do with the activities that
15    were taking place on behalf of the liquidating agent
16    with respect to the rescission.
17          Q.    When you say "outside counsel," just so the
18    record's clear, you're referring to present counsel,
19    Mr. Chockley, or --
20          A.    Yes, sir --
21          Q.        someone else
22          A.        I am -- well, at that time it was another
23    member of Mr. Chockley's firm named Mary -- Mary Wolff
24    who's now deceased.
25          Q.    Okay.     All right.   So your understanding is


                                                         800.211.DEPO (3376)
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     CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 8 of 44

     ROBERT ROACH                                               June 28, 2017
     NCUA vs CUMIS INSURANCE SOCIETY                                       67

 1    that June 22nd, 2015, that you were involved in the
 2    matter -- the St. Francis matter but only to assist
 3    Mr. Ianno in obtaining outside counsel, correct?
 4          A.    Yes, sir.
 5          Q.    Okay.   And that was Mr. Chockley's firm.
 6          A.    Yes, sir.
 7          Q.    And you don't know who at the agency received
 8    this check.
 9          A.    No, sir.
10          Q.    And you don't know how it was received by the
11    agency.
12          A.    No, sir, I do not.
13          Q.    And do you know what, if anything, was done
14    with the funds?
15          A.    Well, I can guess based on what I've said
16    earlier that if they received the check, it was stripped
17    and went -- sent to the lockbox, then it was put into by
18    the Division of Finance some accounting format, and it
19    would have been sent to probably DLMS - again, Division
20    of Liquidation and Member Services - and then I -- I
21    assume they would have commented upon it between them,
22    but I was not involved in that.
23          Q.    Okay.   Do you know if any inquiry was made of
24    CUMIS as to why a second check in the amount of $18,795
25    was sent to the agency in connection with St. Francis?


                                                         800.211.DEPO (3376)
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     CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 9 of 44

     ROBERT ROACH                                               June 28, 2017
     NCUA vs CUMIS INSURA NCE SOCIETY                                        75

 1    No. 14?
 2          A.    I may have seen this during document
 3    production, but I don't believe I -- I saw it anywhere
 4    near October 29th, 2015.
 5          Q.    Did anything occur in October of 2015 that
 6    prompted the agency's concern as to the impact of
 7    accepting and negotiating a CUMIS check with respect to
 8    rescission of a CUMIS bond?
 9          A.    At this time the agency, and -- and part of
10    what I was doing, had retained outside counsel and had
11    requested information on -- on rescission-related issues
12    because as I understood it, they -- they were intent on
13    fighting the rescission, hence the outside counsel.
14    They had gotten at least one opinion of counsel as I
15    as I remember.      There may have been a se -- There was a
16    second one.     I just don't remember when it came in.           So,
17    you know, this may be part of that, but the -- they were
18    intent, as I re -- as I knew, on fighting the
19    rescission.
20          Q.    When you say "fighting the rescission" --
21          A.    Uh-huh.
22          Q.    -- are you speaking with respect to
23    St. Francis or some other matter?
24          A.    St. Francis.
25          Q.    Okay.     Do you know whether or not the issue of


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     CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 10 of 44

     ROBERT ROACH                                               June 28, 2017
     NCUA vs CUMIS INSURA NCE SOCIETY                                     112

 1     give me an overview of the agency's response to the
 2     June 10th, 2015 rescission letter, from that date until
 3     the date that suit was filed in this matter on
 4     January 21st, 2016.
 5           A.     Yes.
 6           Q.     Can you tell me what that response was, again,
 7     in general, broad terms, without revealing any
 8    privileged information.
 9           A.     There was a discussion between AMAC personnel,
10     Dianne Salva, John Ianno, about the general matter of
11     rescission in this case.        Very shortly thereafter I was
12    notified by -- as I had indicated earlier, by John Ianno
13    that the liquidating agent wanted to retain outside
14    counsel regarding the rescission matter.           We then
15    engaged in the process of obtaining outside counsel.
16    Sadly, that's not as quick as it used to be.            It's a lot
17    more -- I hate to use the term, but bureaucratic, a lot
18    more administrative steps in obtaining counsel, but that
19    procedure went on.         There was then -- The counsel was
20    finally obtained.         Counsel then I think engaged in at
21    least two letters of opinion to the liquidating agent on
22    the overall matter, and then there was a decision that,
23    yeah, that they were going to go forward and sue and
24    they        they filed.
25           Q.     In your opinion all -- and during that time


                                                         800.211.DEPO (3376)
                                                         EsquireSolutions.com
     CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 11 of 44

     ROBERT ROACH                                               June 28, 2017
     NCUA vs CUMIS INSURANCE SOCIETY                                       113

 1     period that you just discussed, were any of those
 2     actions consistent with the agency accepting CUMIS's
 3     rescission --
 4           A.     Based
 5           Q.        which
 6          A.         on conversations that I had or that I was
 7     privy to, there was never any intent on the part of the
 8     liquidating agent to accept the rescission.           That's why
 9     they immediately went out and sought - excuse me -
10     outside counsel, and indeed the firm that they wanted to
11     hire, which is the firm that           that ultimately ended up
12     representing the liquidating agent, was hired
13     specifically because it had expertise in the area of
14     rescission.
15                         MR. CHOCKLEY:    Nothing further.
16                         MR. NEALON:     I just have one or two
17     follow-up.
18                          THE WITNESS:   Yes, sir.
19                              FURTHER EXAMINATION
20    BY MR. NEALON:
21          Q.      So the agency obtained at least two opinions
22     from outside counsel with respect to rescission in
23    this -- relating to the St. Francis matter; is that
24    correct?
25          A.      Yes.


                                                         800.211.DEPO (3376)
                                                         EsquireSolutions.com
CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 12 of 44




                EXHIBIT B
          CASE
Sleep Science    0:16-cv-00139-DWF-LIB
              Partners                            Document
                       Inc. v. Lieberman, Not Reported         65 (2010)
                                                       in F.Supp.2d Filed       08/17/17 Page 13 of 44


                                                                accepts this position. Therefore, I only consider the waiver
                                                                issue.
                  2010 WL 4316687
    Only the Westlaw citation is currently available.
                                                                Plaintiff's waiver challenge is evaluated under the “shared
 This decision was reviewed by West editorial                   burden” approach. U.S. v. Chevron Corp., 1996 WL
staff and not assigned editorial enhancements.                  444597 at *10–11 (N.D.Cal.1996). This means that the
                                                                party asserting the privilege bears the initial burden to
              United States District Court,                     establish the communication is privileged. Id. If a party
                    N.D. California.                            claims there has been a waiver, it bears the burden of
                                                                establishing a prima facie case of waiver. Id . Once this
    SLEEP SCIENCE PARTNERS INC., Plaintiff(s),
                                                                occurs, the party asserting the privilege bears the ultimate
                     v.                                         burden of proving that the privilege has not been waived.
      Avery LIEBERMAN, et al., Defendant(s).                    Id.

                 No. C09–4200 CW (BZ).
                                                                Here, defendants complied with their initial burden
                             |
                                                                requirement by showing that the documents were between
                      Oct. 26, 2010.
                                                                defendants and their attorneys and contained legal advice
Attorneys and Law Firms                                         about whether plaintiff's former CEO could work for
                                                                defendants. To meet its prima facie burden of showing
Alice A. Kelly, Chicago, IL, Heather Gwen Flick, The            waiver, plaintiff contends that defendants had multiple
Flick Group, Joseph Ehrlich, Losch & Ehrlich, San               conversations with their investors and plaintiff's former
Francisco, CA, for Plaintiff(s).                                CEO regarding the legal implications of working with the
                                                                former CEO. Motion to Compel at 8. According to the
Gary Lawrence Franklin, Primmer Piper Eggleston &               plaintiff, these conversations with third-parties constitute
Cramer PC, Burlington, VT, Patrick Kenny Michael                waiver.
McCarthy, Law Offices of Patrick McCarthy, Pleasanton,
CA, for Defendant(s).                                           Plaintiff's contention, however, does not result in
                                                                defendants waiving their attorney-client privilege. Merely
                                                                disclosing the fact that there were communications or
           ORDER DENYING PLAINTIFF'S                            that certain subjects were discussed with attorneys does
              MOTION TO COMPEL                                  not constitute waiver. U.S. v. O'Malley, 786 F.2d 786,
                                                                796 (7th Cir.1986); Quiksilver, Inc. v. Kymsta Corp., 247
BERNARD ZIMMERMAN, United States Magistrate                     F.R.D. 579, 584 (C.D.Cal.2007). Rather, the content of
Judge.                                                          the privileged communication with the attorneys must be
                                                                shared for there to be waiver. Quiksilver, 247 F.R.D. at
 *1 Before me is plaintiff's motion to compel (Docket
                                                                584 (“There is a significant difference between indicating
No. 63). The only remaining issue is whether defendants
                                                                the fact or topic of a confidential [communication] with
have waived the attorney-client privilege for certain
                                                                an attorney and revealing its content. The latter effects a
documents 1 identified in their privilege log. I find no need
                                                                waiver of the attorney-client privilege, while the former
for a hearing. For the reasons explained below, plaintiff's
                                                                does not.”) (citations omitted). Thus, for plaintiff to
motion to compel is DENIED, and defendants are not
                                                                meet its prima facie burden it would have to show that
required to produce any of the privileged documents at
                                                                defendants shared the actual content of the legal advice
issue.
                                                                they received from their attorneys with third-parties like
                                                                the investors or plaintiff's former CEO. Plaintiff has
Plaintiff initially argued that defendants waived the
                                                                not done this. At most, plaintiff shows that defendants
attorney-client privilege by asserting an advice of counsel
                                                                disclosed that they had obtained legal advice. Because
defense and by sharing the communications with third-
                                                                there is no showing that the content of this legal advice
parties. According to defendants, however, they are not
                                                                was shared, plaintiff has not met its prima facie burden.
asserting an advice of counsel defense, and plaintiff's reply




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          CASE
Sleep Science    0:16-cv-00139-DWF-LIB
              Partners                            Document
                       Inc. v. Lieberman, Not Reported         65 (2010)
                                                       in F.Supp.2d Filed            08/17/17 Page 14 of 44


 *2 Nor is plaintiff's prima facie showing not supported           documents are not privileged, 3 plaintiff should have
by any declarations or affidavits. See Local Rule                  raised this challenge it in its moving papers. By first raising
7–5 (factual contentions must be supported by a                    it in its reply, plaintiffs improperly deprived defendants of
                                                                   the opportunity to respond. See U.S. v. Romm, 455 F.3d
declaration). 2 This is particularly troubling because
                                                                   990, 997 (9th Cir.2005) (“arguments not raised by a party
plaintiff argues in its reply that defendants have not
satisfied their ultimate burden because they have not              in its opening brief are deemed waived”). 4
submitted any declarations or evidence to show that
communications were not waived. Reply at 3. If I accept            For the foregoing reasons, plaintiff's motion to compel is
this argument from plaintiff—which I would have to if              DENIED. Both parties also seek an award of attorneys'
I was to rule in its favor—then I must also apply it to            fees incurred in this discovery dispute. These requests
plaintiff. Plaintiff's lack of evidentiary support therefore       are improper because they do not comply with Local
results in plaintiff not being able to establish its prima         Rules 7–8(a) and 37–3 which require motions for sanctions
facie burden that there was waiver. Without this prima             to be filed separately and the expenses requested to
facie showing, the ultimate burden does not shift back to          be itemized. 5 As such, the requests for sanctions are
defendants and they do not need to establish there was no          DENIED.
waiver.

In its reply, plaintiff raises one new argument that was           All Citations
not discussed in its moving papers. Plaintiff contends
                                                                   Not Reported in F.Supp.2d, 2010 WL 4316687
that defendants' privilege log is deficient and certain
documents are not privileged. While it may be that some


Footnotes
1      The documents plaintiff seeks are mainly communications between defendants and their attorneys regarding the legality
       of plaintiff's former CEO working for defendants.
2      Perhaps plaintiff did not feel it was necessary to submit a declaration in support of its allegations because the
       communications that allegedly constituted waiver were marked as confidential. See Motion to Compel at 8, fn. 1. Plaintiff,
       however, does not explain why a motion to seal would not have alleviated its confidentiality concerns. Moreover, even
       if plaintiff decided to not submit the confidential communications, plaintiff was still required to submit a declaration to
       support the factual allegations it was making.
3      For instance, defendants' designation of an e-mail from plaintiff's former CEO to defendants was identified as privileged
       even though there were no attorney senders or recipients. Declaration of Alice A. Kelly: Ex. G, Bate Stamp SW04331.
4      For the same reason, I do not consider plaintiff's submission in its reply of the investor's deposition. Reply at 3. This
       submission, once again made without a declaration, comes too late since plaintiff is required to make its prima facie
       showing in its moving papers (so that the ultimate burden may shift to defendants in the opposition). In any event, excerpts
       from the deposition only show that defendants obtained legal advice and not that the actual content of the legal advice
       was disclosed.
5      Plaintiff is also not entitled to attorneys' fees because its motion is denied.


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CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 15 of 44




                EXHIBIT C
         CASE
Murata Mfg.       0:16-cv-00139-DWF-LIB
            Co., Ltd. v. Bel Fuse, Inc., Not ReportedDocument
                                                      in F.Supp.2d65   Filed
                                                                   (2007)      08/17/17 Page 16 of 44


                                                              interrogatories that the ′847 patent was not “material”
                                                              prior art. In fact, according to Murata, it was so
                 2007 WL 781252
                                                              immaterial to the patentability of the patent-in-suit
   Only the Westlaw citation is currently available.
                                                              that the inventors and Murata's attorneys never even
            United States District Court,
                                                              considered disclosing it. Bel Fuse now seeks the
                   N.D. Illinois,
                                                              production of certain documents related to this issue that
                 Eastern Division.
                                                              Murata has withheld from discovery under a claim of
  MURATA MANUFACTURING CO., LTD., Plaintiff,                  attorney-client privilege. Bel Fuse contends that Murata
                      v.                                      has waived the privilege as to documents that are relevant
       BEL FUSE, INC., et al., Defendants.                    to Bel Fuse's inequitable conduct claim. For the following
                                                              reasons, I find that no waiver has occurred and deny Bel
                      No. 03 C 2934.                          Fuse's motion to compel.
                             |
                      March 8, 2007.                          Bel Fuse's argument goes this way. The documents being
                                                              withheld by Murata are communications between Murata
Attorneys and Law Firms                                       employees and Murata's Japanese attorneys or between
                                                              Murata's Japanese attorneys and Murata's attorneys in
Patrick Joseph Kelleher, Richard Andrew Wulff, Drinker
                                                              the United States, and relate to the duty of disclosure to
Biddle Gardner Carton, Andrea Maria Augustine, Brian
                                                              the patent office as well as to an Information Disclosure
C. Rupp, Michael E. Barry, Peter J. Meyer, Gardner
                                                              Statement (“IDS”) the Murata inventors submitted to the
Carton & Douglas LLP, Chicago, IL, for Plaintiff.
                                                              patent office during the prosecution of the patent-in-suit.
Andres N. Madrid, Steinberg & Raskin P.C., Joshua             Bel Fuse submits that any privilege covering the withheld
L. Raskin, Martin G. Raskin, Wolf, Block, Schorr and          documents was expressly waived by Murata during two
Solis-Cohen LLP, New York, NY, David J. Sheikh,               Rule 30(b)(6) depositions in March and October of 2006
Niro, Scavone, Haller & Niro, Ltd., Chicago, IL, for          when Murata's witness referred to the communications
Defendants.                                                   and their relation to: (1) the decision to disclose certain
                                                              prior art to the PTO during prosecution of the patent-in-
                                                              suit; (2) the preparation and submission of the IDS in a
                                                              purported attempt to comply with the duty of disclosure;
      MEMORANDUM OPINION AND ORDER
                                                              (3) the inventors' purported knowledge and understanding
JEFFREY COLE, United States Magistrate Judge.                 of the duty of disclosure; and (4) the inventors' purported
                                                              compliance with the duty of disclosure. As Bel Fuse would
 *1 Murata Manufacturing Co., Ltd. (“Murata”) sued            have it, when Murata's witness testified as to the existence
Bel Fuse Inc., Bel Fuse Ltd., Bel Stewart Ltd., and Bell      of such privileged communications, Murata expressly
Connector Inc. (collectively “Bel Fuse”) for infringement     waived the attorney-client privilege as to these discussions
of United States Patent No. 5,069,641 (“the ′641              and to all other privileged communications relating to the
Patent”). Bel Fuse has asserted the defenses of non-          same subject matter.
infringement, invalidity, and inequitable conduct before
the patent office. The basis for this last defense is Bel     In addition to the express waiver argument, Bel Fuse
Fuse's contention that the inventors of the patent-in-        also argues that Murata impliedly waived any privilege
suit, their attorneys and/or other individuals at Murata      covering the withheld documents by placing its state of
substantively involved in the prosecution of the patent-      mind as to key elements of Bel Fuse's inequitable conduct
in-suit intentionally withheld a material prior art patent-   claim at issue in this case by contending that Murata
specifically, U.S. Patent No. 4,789,847 (“the ′847            inventors, its in-house attorneys, and its outside Japanese
patent”)-from the patent office during the prosecution of     counsel were fully aware of their duty of disclosure under
the patent-in-suit with an intent to deceive.                 U.S. law, that these individuals knew what “material
                                                              to the patentability of the invention” meant, and that
In response to Bel Fuse's inequitable conduct defense,        these individuals believed that the ′847 patent was so
Murata has claimed in depositions and answers to              immaterial to the patent-in-suit that it never even occurred



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         CASE
Murata Mfg.       0:16-cv-00139-DWF-LIB
            Co., Ltd. v. Bel Fuse, Inc., Not ReportedDocument
                                                      in F.Supp.2d65   Filed
                                                                   (2007)      08/17/17 Page 17 of 44


to any of them to bring the ′847 patent to the attention       on conversations with a Mr. Kimura, he believed that
of the patent examiner. According to Bel Fuse, Murata          all the inventors knew and understood the duty of
should not be permitted to inject into the case these issues   disclosure; Mr. Kimura assured him of this. (Bel Fuse
concerning its state of mind regarding key elements of         Ex. 5, 2nd Keating Dep. at 95). Mr. Kimura explained
Bel Fuse's claim and, at the same time, shield alleged         to Mr. Keating that he was sure of this based on their
privileged communications relating to those same topics.       experience as inventors having to comply with the duty
                                                               of disclosure in the past, and as a result of their periodic
                                                               communications with U.S. patent attorneys. (Id. at 96).
                                                               These communications came to the inventors by way
                               I.
                                                               of Murata's Japanese law firm and Mr. Kimura. (Id.
                                                               at 106-107). The inventors were also familiar with the
   The 30(b)(6) Deposition Testimony Mr. Keating Did           applicable forms-which were printed in both English and
  Not Effect A Waiver Of The Attorney-Client Privilege         Japanese-that explained the duty of disclosure and what
                                                               “material information” meant. (Id. at 96). Based on his
 *2 On March 5, 2004, Murata designated Joseph                 discussions with Mr. Kimura, Mr. Keating was confident
Keating to testify at a Rule 30(b)(6) deposition regarding     that the inventors believed the ′847 patent was not
“all steps taken by Murata's attorneys to comply with          material to the ′641 patent application. (Id. at 108).
their duty of candor to the United States Patent and
Trademark Office with respect to the prosecution of the
                                                               For Bel Fuse, these snippets of deposition testimony
′641 patent application.” During that deposition, Mr.          constitute disclosure of confidential attorney-client
Keating testified that there were various communications       communications resulting in an express waiver of
on that subject among Murata, Murata's American                the privilege as to those communications. But the
counsel-Burns Doane, Swecker & Mathis, L.L.P. (“Burns          attorney-client privilege is not waived unless portions
Doane”)-and Murata's Japanese attorney, the Morishita          of communications that are private between attorney
law firm. Mr. Keating testified that Murata's attorneys        and client are revealed. United States v. Buljubasic, 808
informed him that, in order to comply with the duty of         F.2d 1260, 1268 (7th Cir.1987); United States v. Lawless,
candor, they took the steps reflected in the written record    709 F.2d 485, 487 (7th Cir .1983). Such a revelation
of the prosecution of the ′641 patent application. (Bel        waives the privilege as to the residue of the confidential
Fuse's Ex. 5, Keating Dep. at 26). When Burns Doane            communication. Buljubasic, 808 F.2d at 1268; Lawless,
asked what prior art to identify, “Murata instructed Burns     709 F.2d at 487. No such revelation occurred here.
Doane to submit in an IDS the ′204 patent 1 and all prior
art references which were cited in the ′204 patent.” (Id. at    *3 All that Mr. Keating's testimony revealed is that
27). Mr. Keating said he did not believe Murata identified     Murata and its attorneys determined that the ′204 patent
any other prior art. (Id. at 28). In addition, he testified    would be disclosed in the ′641 patent application, and
that Murata's Japanese patent application corresponding        that the inventors knew about the duty of disclosure and
to the ′641 patent included the ′ 204 patent prior art         what constituted material information. The disclosures
references, and the “Japanese patent attorney instructed       made in the course of prosecuting the ′641 patent are not
U.S. counsel that prosecuted the ′641 to cite the ′204         confidential, and consequently Mr. Keating's testimony
patent and all prior art references that were cited in the     regarding them does not waive the privilege. Buljubasic,
′204 patent.” (Id. at 29). 2                                   808 F.2d at 1268(“A client does not waive the privilege
                                                               by stating facts that outsiders already know or could
On October 11, 2006, Murata again produced Mr.                 deduce.”); Denius v. Dunlap, 209 F.3d 944, 952 (7th
Keating to testify on its behalf, this time regarding          Cir.2000) (communications made with the knowledge that
discussions concerning the duty of disclosure with each        the information would be transmitted to a third party are
of the inventors of the patent-in-suit including, but          no longer confidential and, therefore, not protected by
not limited to, any discussions and explanations as to         the privilege). Phrased differently, testimony about non-
what constitutes “material information” as that term is        privileged communications cannot waive a privilege as to
used in the declaration accompanying the application           other communications that are protected by the attorney
for the patent-in-suit. Mr. Keating testified that, based      client privilege.



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         CASE
Murata Mfg.       0:16-cv-00139-DWF-LIB
            Co., Ltd. v. Bel Fuse, Inc., Not ReportedDocument
                                                      in F.Supp.2d65   Filed
                                                                   (2007)         08/17/17 Page 18 of 44



Similarly, Mr. Keating's testimony that he understood
                                                                                               II.
that the inventors knew about their duty of disclosure and
understood what would constitute “material information”
did not reveal any confidences. At most, Mr. Keating             Murata's Opposition to Bel Fuse's Charge Of Inequitable
stated that the inventors had communications with                 Conduct Before The Patent Offense Does Not Result
Murata's attorneys. There is a significant difference             In A Waiver Of Murata's Attorney-Client Privilege
between indicating the fact or topic of a confidential with
                                                                  *4 Next, Bel Fuse argues that because it has raised the
an attorney and revealing its content. The latter effects a
                                                                 issue of inequitable conduct before the patent office as an
waiver of the attorney-client privilege, while the former
                                                                 affirmative defense to Murata's charges of infringement,
does not. See United States v. Smith, 454 F.3d 707, 713 (7th
                                                                 and Murata has denied it, Murata's attorney-client
Cir.2006) (client who revealed what his lawyer told him
                                                                 privilege is waived. Although the argument as advanced
indicated a willingness to waive the privilege); see Sarkes
                                                                 is phrased more obliquely, at bottom this is what Bel
Tarzian, Inc. v. U .S. Trust Co. of Florida Sav. Bank, 397
                                                                 Fuse is contending. If accepted, a defendant charged with
F.3d 577, 584 (7th Cir.2005), cert. denied, 546 U.S. 928,
                                                                 inequitable conduct would find itself between Scylla and
126 S.Ct. 398, 163 L.Ed.2d 276 (2005) (responding fully
                                                                 Charybdis: it would either have to waive its attorney
to questions covered by the attorney-client privilege is an
                                                                 client privilege in order to defend itself or concede liability
implicit waiver of that privilege).
                                                                 in order to preserve the privilege, which would become
                                                                 valueless. In a constitutional context, the Supreme Court
If Bel Fuse's argument were accepted, it would mean
                                                                 has said that a defendant in a criminal case cannot be
that privilege logs, and compliance with Fed.R.Civ.P.
                                                                 forced to choose between asserting his Fifth Amendment
26(b)(5), would operate as a waiver of the attorney
                                                                 privilege at the price of relinquishing his rights under the
client privilege. Rule 26(b) (5) demands that a party
                                                                 Fourth Amendment. See Simmons v. United States, 390
asserting the privilege as to a document “shall describe
                                                                 U.S. 377, 393-394, 88 S.Ct. 967, 19 L.Ed.2d 1247 (1968).
the nature of the ... communications ... in a manner
                                                                 The Court found it intolerable that one constitutional
that, without revealing information itself privileged or
                                                                 right should have to be surrendered in order to assert
protected, will enable the parties to assess the applicability
                                                                 another. While the “benefit” to be given up-the attorney
of the privilege or protection.” See also Hobley v. Burge,
                                                                 client privilege-is not a constitutional right, it is one that
433 F.3d 946, 947 (7th Cir.2006) (“An attorney asserting
                                                                 lies at the heart of our adversary system.
privilege must timely support that claim with a “privilege
log” which describes the nature of each document being
                                                                 The attorney-client privilege is the oldest of the recognized
withheld.”). One can readily imagine Mr. Keating's
                                                                 privileges for confidential communications known to the
testimony transcribed into the “Subject” column of a
                                                                 common law. Jaffee v. Redmond, 518 U.S. 1, 11, 116
privilege log: “communication with inventors re: duty or
                                                                 S.Ct. 1923, 135 L.Ed.2d 337 (1996); Upjohn Co. v. United
disclosure;” “communication with inventors re: ‘material
                                                                 States 449 U.S. 383, 389, 101 S.Ct. 677, 66 L.Ed.2d
information’;” or “communication from counsel re: ′204
                                                                 584 (1981). Deeply rooted in public policy, In re Ford
patent disclosure.” None of these topical descriptions in
                                                                 Motor Co., 110 F.3d 954, 966 (3d Cir.1997), and playing
a privilege log would be held to waive the privilege, and
                                                                 a “vital role” in the administration of justice, American
the result cannot be different here simply because the
                                                                 Nat. Bank and Trust Co. of Chicago v. Equitable Life
topics were enunciated in deposition testimony in response
                                                                 Assur. Soc. of U.S., 406 F.3d 867, 878, (7th Cir.2005),
to Bel Fuse's questioning. As such, merely adverting
                                                                 it remains one of the most carefully guarded privileges
to the nature of a communication, as Mr. Keating did
                                                                 and is not readily to be whittled down. See Swidler &
here, cannot be held to amount to a revelation of the
                                                                 Berlin v. United States, 524 U.S. 399, 403, 118 S.Ct. 2081,
protected information that waives the attorney-client
                                                                 141 L.Ed.2d 379(1998). The privilege's central concern-
privilege. There was no waiver of the privilege as a result
                                                                 and its ultimate justification-is to encourage full and
of the testimony on which Bel Fuse relies. 3
                                                                 frank communication between attorneys and their clients
                                                                 and thereby promote broader public interests in the
                                                                 observance of law and the administration of justice.
                                                                 Without that frankness, sound legal advice is impossible,


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         CASE
Murata Mfg.       0:16-cv-00139-DWF-LIB
            Co., Ltd. v. Bel Fuse, Inc., Not ReportedDocument
                                                      in F.Supp.2d65   Filed
                                                                   (2007)       08/17/17 Page 19 of 44


and without informed advice, the ultimate goal of the             finding of intent to deceive.” Intent rarely can be, and
attorney-client privilege is unattainable. Upjohn v. United       need not be, proven by direct evidence. Instead, an
States, 449 U.S. 383, 389, 101 S.Ct. 677, 66 L.Ed.2d              intent to deceive is usually inferred from the facts and
584 (1981). In light of the importance of the attorney            circumstances surrounding the conduct at issue.
client privilege, the tension the Court found intolerable in
Simmons is no more tolerable here.                                If a district court finds that the requirements of
                                                                  materiality and intent have been established by clear
A brief discussion about the question of inequitable              and convincing evidence, it must then “balance
conduct before the patent office will provide a useful            the equities to determine whether the patentee has
background for disposition of the present issue. The              committed inequitable conduct that warrants holding
Federal Circuit has recently reiterated the issues attendant      the patent unenforceable.” Under the balancing
such a charge in Cargill, Inc. v. Canbra Foods, Ltd., 476         test, “[t]he more material the omission or the
F.3d 1359, 2007 WL 466248, *3 (Fed.Cir.2007): To hold             misrepresentation, the lower the level of intent required
a patent unenforceable due to inequitable conduct, there          to establish inequitable conduct, and vice versa.”
must be clear and convincing evidence that the applicant
                                                                476 F.3d 1359, 2007 WL 466248, *3.
(1) made an affirmative misrepresentation of material fact,
failed to disclose material information, or submitted false
                                                                Bel Fuse grounds its contention that Murata has waived
material information, and (2) intended to deceive the U.S.
                                                                its attorney-client privilege on Murata's interrogatory
Patent and Trademark Office (“PTO”).
                                                                responses in this case, which set forth the bases for its
                                                                denial of Bel Fuse's charge of inequitable conduct. In those
3
                                                                responses, Murata stated that, notwithstanding the fact
     *5 [I]nformation is material to patentability when it      that two of the inventors of the patent-in-suit also were
    is not cumulative to information already of record or       inventors of the ′847 patent, it did not occur to them
    being made of record in the application, and                that the ′847 patent should be cited in the prosecution
                                                                of the patent-in-suit, and the possibility was not even
      (1) It establishes, by itself or in combination           suggested to them. (Bel Fuse's Ex. 6 at 44-45). Murata
      with other information, a prima facie case of             also stated that none of the attorneys or other individuals
      unpatentability of a claim, or                            at Murata involved in the prosecution of the patent-in-
                                                                suit had any knowledge of the ′847 patent. (Id. at 45-46).
      (2) It refutes, or is inconsistent with, a position the   This, Murata later explained, could be distinguished from
      applicant takes in:                                       a situation where a deliberate decision not to cite a piece
                                                                of prior art was made. (Id . at 52). And, as did Mr.
      (I) Opposing an argument of unpatentability relied
                                                                Keating in his deposition testimony, Murata stated that
      on by the Office, or
                                                                the inventors were well aware of their duty of disclosure
      (ii) Asserting an argument of patentability.              through past experience, and a review of their disclosures
                                                                in the prosecution of the ′641 patent reveals references
    A prima facie case of unpatentability is established        that were likely unnecessary. In other words, the inventor's
    when the information compels a conclusion that a claim      citations to prior art demonstrate that they were erring on
    is unpatentable under the preponderance of evidence,        the side of caution and disclosing more than their duty
    burden-of-proof standard, giving each term in the claim     required. (Id. at 53).
    its broadest reasonable construction consistent with the
    specification, and before any consideration is given to      *6 Perhaps more importantly, Murata set forth its
    evidence which may be submitted in an attempt to            position on why the ′ 847 patent was not material to the
    establish a contrary conclusion of patentability.           prosecution of the ′641 patent:

    The intent element of inequitable conduct requires                      The ′847 patent would not have
    that “the involved conduct, viewed in light of all                      been important to a reasonable
    the evidence, including evidence indicative of good                     examiner in determining whether to
    faith, must indicate sufficient culpability to require a                allow the claims of the ′641 patent



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         CASE
Murata Mfg.       0:16-cv-00139-DWF-LIB
            Co., Ltd. v. Bel Fuse, Inc., Not ReportedDocument
                                                      in F.Supp.2d65   Filed
                                                                   (2007)         08/17/17 Page 20 of 44


               to issue. Stated in more recent terms,            32 F.3d 851, 863 (3d Cir.1994) (cited with approval
               the ′847 patent, either alone or in               in Garcia v. Zenith Elecs. Corp., 58 F.3d 1171, 1175
               combination, does not establish a                 n. 1 (7th Cir.1995)) (waiver when the privilege holder
               prima facie case of unpatentability               “asserts a claim or defense, and attempts to prove that
               of any claim of the ′641 patent.                  claim or defense by disclosing or describing an attorney-
               Nor is it inconsistent with any                   client communication.”). Here, however, there is nothing
               position taken by the applicants                  to suggest that resolution of this issue will require
               during prosecution.                               examination of confidential communications.

(Id. at 46).                                                      *7 As detailed above, the interrogatory responses that
                                                                 Bel Fuse seems to characterize as “smoking guns” do
Murata then went on to elucidate its positions with              not rely on the substance of confidential communications.
comparisons between the two devices, and a history of            Murata's assertions in those responses can be tested
prior art references made in prosecutions of patents for         without necessary resort to examination of any such
related types of devices. (Id. at 46-51). Based on these         material. Instead, the interrogatory responses at issue rely
interrogatory responses, Bel Fuse argues that Murata             heavily on the public record of the patent prosecution, a
has waived the attorney-client privilege by “placing the         comparison of the claims of the prior art at issue, and the
states of mind of the inventors, Murata's attorneys, and         inventors' past experience. Clearly, a decision regarding
any other individuals involved in the prosecution of the         materiality rests on no confidential information but a
patent-in-suit ....“ (Bel Fuse's Motion to Compel, at 12).       comparison of the prior art at issue, Cargill, Inc., 476
But the mere fact that one's “state of mind” becomes an          F.3d 1359, 2007 WL 466248, *3, which is exactly what
issue in a case does not necessarily mean that the attorney-     Murata suggests in its interrogatory responses. (Bel Fuse's
client privilege has been waived. It is the manner of proof      Ex. 6, at 46-52). That the inventors understood their duty
involved that determines whether there has been a waiver.        of disclosure is demonstrated, according to Murata, not
                                                                 through examination of attorney-client communications
There is, of course, the familiar waiver that occurs when        but through the inventors' filing of the IDS, their signing
advice of counsel is put at issue. See Garcia v. Zenith          of sworn statements in both English and Japanese, and
Electronics Corp. ., 58 F.3d 1171, 1175 (7th Cir.1995).          their prolific experience with the patent office-they had
In patent cases, this most often arises when a defense of        received more than 40 patents among them. (Id. at
advice of counsel is lodged against a charge of willful          52-54). Similarly, Murata contends that good faith is
infringement. See In re EchoStar Communications Corp.,           demonstrated through these same types of evidence, in
448 F.3d 1294, 1299 (Fed.Cir.2006). The defendant must           addition to the scope of prior art the inventors did cite
reveal that advice to refute the charge and so the privilege     in connection with the prosecution of the patent-in-suit.
is waived. But Bel Fuse does not assert an “advice-              (Id.). If there is a reference to the content of a confidential
of-counsel” waiver here; it asserts an “at-issue” waiver,        attorney-client communication in these responses, let
relying on Pyramid Controls, Inc. v. Seimens Industrial          alone a communication on which the resolution of this
Automations, Inc., 176 F.R.D. 269, 271 (N.D.Ill.1997).           issue hinges, Bel Fuse has not pointed it out.
The “at issue” waiver of the attorney-client privilege is
implied when a party voluntarily injects a new factual or        The two cases upon which Bel Fuse relies, General
legal issue into a case, the truthful resolution of which will   Elec. Co. v. Hoechst Celanese Corp., 1990 WL 154218,
require examining confidential communications. Lorenz            *9 (D.Del.1990) and Starsight Telecast, Inc. v. Gemstar
v. Valley Forge Insurance. Co., 815 F.2d 1095, 1097 (7th         Development Corp., 158 F.R.D. 650, 654 (N.D.Cal.1994)
Cir.1987); Pyramid Controls, Inc. v. Seimens Industrial          do not compel a different result. In General Elec., the
Automations, Inc., 176 F.R.D. 269, 271 (N.D.Ill.1997);           court was dealing with a different issue than inequitable
see also In re Lott, 424 F.3d 446, 453 (6th Cir.2005)            conduct before the patent office, at least in degree: the
(waiver where “the pleading places at issue the subject          crime-fraud exception to the attorney-client privilege.
matter of a privileged communication in such a way               1990 WL 154218, *5-6, 8. The plaintiff hoped to prove
that the party holding the privilege will be forced to           it was innocent of fraud on the patent office by relying
draw upon the privileged material at trial in order to           on the claims of two inventors that they did not recall
prevail.”); Rhone-Poulenc Rorer Inc. v. Home Indem. Co.,


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         CASE
Murata Mfg.       0:16-cv-00139-DWF-LIB
            Co., Ltd. v. Bel Fuse, Inc., Not ReportedDocument
                                                      in F.Supp.2d65   Filed
                                                                   (2007)           08/17/17 Page 21 of 44


a certain experiment that was relevant to the patent-in-          of Mr. Hori-indicates that the inventor simply did not
                                                                  consider the ′847 patent as relevant prior art that needed
issue. Id. at *8-9. In so testifying, the inventors referred
                                                                  to be disclosed. (Bel Fuse's Ex. 6, at 45). Why? Because
to a letter that was described as a confidential attorney-
                                                                  it “belonged to a completely unrelated category.” (Id. at
client communication. The court stated that the plaintiff
                                                                  52). There is no reference to a confidential communication
“points to no evidence, other than the allegedly privileged
                                                                  and Mr. Hori's assertion can be assessed without resort
communications themselves, which would substantiate
                                                                  to examining one. It is an assessment that can be made
these claims.” Id. at *9. The court found a waiver
                                                                  by comparison of the prior art at issue, and no resort to
of the attorney-client privilege because “[t]he only way
for defendants to refute these assertions is to examine           attorney-client confidences need be made. 4
the privileged communications themselves.” Id. Here,
the interrogatory responses upon which Bel Fuse relies            In sum, the flaws inherent in Bel Fuse's position can-
demonstrate that Murata can, and does, point to evidence          as with its previous argument-readily be highlighted
other than privileged communications to substantiate its          by what would obtain were it accepted. See Posner,
position.                                                         Cardozo: A Study in Reputation, 118 (1990) (“ ‘[t]he
                                                                  soundness of a conclusion may not infrequently be tested
Similarly, in Starsight Telecast, the defendant hoped to          by its consequences.’ ”). Any defendant in any patent
refute a claim of inequitable conduct by reliance on              infringement case could destroy its opponent's attorney-
deposition testimony and declarations about knowledge             client privilege by leveling the rather common charge of
of the purported prior art, and the relevancy or materiality      inequitable conduct before the patent office. The plaintiff
of such art. 158 F.R.D. at 654. That testimony, however,          denies the charge, thereby placing its state of mind at
relied completely on references to privileged attorney-           issue and voila, the defendant has access to the plaintiff's
client communications. Id. As such, the court, following          privileged communications with its counsel. It would
General Elec., found a waiver of the attorney-client              happen in every case. That it has not is persuasive evidence
privilege. Again, the interrogatory responses at issue here       that the argument is unsound and should be rejected.
make reference to non-privileged materials.

 *8 To make clearer the distinctions between the cases                                   CONCLUSION
Bel Fuse cites and the situation at hand, one need only
compare the testimony of the inventors in the three cases.        For the foregoing reasons, the defendant's Motion to
In General Elec., the inventors testified that they had no        Compel [′ 260] is DENIED.
recollection of the experiment at issue, and that could be
substantiated only by reference to privileged materials. In
Starsight Telecast, the inventor testified that his decisions     All Citations
to disclose prior art were part and parcel to attorney-client
                                                                  Not Reported in F.Supp.2d, 2007 WL 781252
communications. Here, the cited inventor testimony-that


Footnotes
1      The #204 patent refers to U.S. Patent No. 5,015,204 which is owned by Murata and which is mentioned in the Background
       of the Invention section of the patent-in-suit.
2      This purported “waiver” of the attorney-client privilege occurred nearly three years ago. The fact that Bel Fuse chose not
       to raise the issue until now, rather than during the ongoing, protracted discovery disputes during that period, calls into
       question the seriousness of Bel Fuse's contentions.
3      The two cases upon which Bel Fuse relies do not suggest a different result; both involved revelations of the substance of a
       confidential communication. Vardon Golf Co., Inc. v. Karsten Mfg. Corp., 213 F.R.D. 528, 532 (N.D.Ill.2003) (privilege can
       be waived when a party shares the confidential information with third parties); In re Consolidated Litigation Concerning
       Intern. Harvester's Disposition of Wisconsin Steel, 666 F.Supp. 1148, 1153 (N.D.Ill.1987) (privilege waived where
       substance of the communication is revealed to third parties). The communications Bel Fuse pints to here were either not
       confidential or their substance was not divulged.




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         CASE
Murata Mfg.       0:16-cv-00139-DWF-LIB
            Co., Ltd. v. Bel Fuse, Inc., Not ReportedDocument
                                                      in F.Supp.2d65   Filed
                                                                   (2007)           08/17/17 Page 22 of 44


4     The testimony cited here is not far removed from a mere denial of inequitable conduct which, under Lorenz, 815 F.2d at
      1097, does not warrant a finding of waiver. As such, this case is similar to Schofield v. U.S. Steel Corp. There, the party
      asserting waiver relied on the testimony of the patentee's attorney, who said he “certainly never intentionally prepared
      an application with a claim which read on some prior art which [he] was aware of.” The court found that the patentee,
      through his attorney, had merely denied allegations of inequitable conduct leveled at him by the defendant. It held that
      the denial of an allegation does not constitute waiver of the attorney-client privilege. Schofield v. U.S. Steel Corp., 2005
      WL 3159165, *5 (N.D.Ind.2005) (citing Lorenz, 815 F.2d at 1098).


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CASE 0:16-cv-00139-DWF-LIB Document 65 Filed 08/17/17 Page 23 of 44




                EXHIBIT D
        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 24 of 44


                                                             and caused a fire at one of Medtronic's facilities. Amended
                                                             Complaint, ¶¶ 8, 9, Civ. No. 09–363 (DWF/JSM) [Docket
                 2011 WL 2490298
                                                             No. 59] (the “Medtronic action”). Medtronic claimed
   Only the Westlaw citation is currently available.
                                                             damages in excess of $1,800,000. Rule 26(f) Report, p. 2
            United States District Court,
                                                             [Medtronic action, Docket No. 8]. The Yost & Baill law
                   D. Minnesota.
                                                             firm represented Medtronic in that action. Id., p. 7. Aaron
        PETCO ANIMAL SUPPLIES STORES,                        Ponce, Esq. of the law firm Foley and Mansfield PLLP
         INC., and International Pet Supplies                represented PETCO. Answer to Amended Complaint, p.
           and Distribution, Inc., Plaintiffs,               7, [Medtronic action, Docket No. 60].
                          v.
                                                             The aquarium heater was designed and manufactured by
             INSURANCE COMPANY OF
                                                             Meiko Pet Corporation (“Meiko”). Amended Complaint,
           NORTH AMERICA, Defendant.
                                                             ¶ 15, Civ. No. 10–682 (SRN/JSM) (the “DJ action”)
                                                             [Docket No. 14]. PETCO claimed they were covered under
              Civil No. 10–682(SRN/JSM).
                                                             a vendors broad form endorsement in an insurance policy
                            |
                                                             that defendant Insurance Company of North America
                      June 10, 2011.
                                                             (“ICNA”) issued to Meiko (the “Meiko policy”). Id., ¶
Attorneys and Law Firms                                      16, 37. PETCO began the instant DJ action after ICNA
                                                             refused PETCO's tender of defense and claim for coverage
David J. Taylor, Jeffrey M. Baill, Steven Theesfeld, Yost    under the Meiko policy. Id., ¶¶ 23, 51–52. PETCO was
& Baill, LLP, Minneapolis, MN, for Plaintiffs.               represented in the DJ action by the Henson & Efron law
                                                             firm. Id., p. 11. The Amended Complaint in the DJ action
John F. Angell, Cindy L. Butler, Louise A. Behrendt,
                                                             alleged that the Meiko policy had a $2,000,000 liability
Stacey L. Sever, Stich Angell Kreidler & Dodge,
                                                             limit and that Medtronic was seeking approximately
Minneapolis, MN, for Defendant.
                                                             $1,800,000 for its losses. Amended Complaint, ¶¶ 12, 14.
                                                             ICNA answered the Amended Complaint, denying that
                                                             the Meiko policy provided coverage for PETCO. Answer
                        ORDER                                to Amended Complaint, ¶ 8 [DJ action, Docket No. 22].

JANIE S. MAYERON, United States Magistrate Judge.
                                                             On October 27, 2010, this Court conducted a settlement
 *1 The above matter came on before the undersigned          conference for both the Medtronic action and the DJ
on Plaintiffs' and Aaron Ponce's Motion to Quash the         action. [Medtronic action, Docket No. 65; declaratory
Subpoena Issued to Aaron Ponce [Docket No. 28].              judgment action, Docket No. 24]. In attendance were
Thomas A. Harder, Esq. and David Taylor, Esq. appeared       attorneys and client representatives for Medtronic and
on plaintiffs' and Aaron Ponce's behalf. Cindy Butler,       PETCO, insurer Chartis (insurer to PETCO after PETCO
Esq. and John Angell, Esq. appeared on defendant's           reached its self-insured retention limit), and counsel and
behalf. Based upon all the files, records and proceedings    the client representative for ICNA. During the settlement
herein, the arguments of counsel, and the supplemental       conference, Medtronic and PETCO agreed to enter into a
briefing ordered by the Court, Plaintiff's Motion to Quash   Miller–Shugart Agreement and Assignment. See Affidavit
Subpoena [Docket No. 28] is GRANTED.                         of Thomas Harder (“Harder Aff.”), Ex. A, (Affidavit
                                                             of Aaron Ponce), ¶ 3 [Docket No. 31]; Affidavit of
                                                             Cindy Butler (“Butler Aff.”), Ex. 1 (draft of Miller–
                                                             Shugart Agreement and Stipulation and Miller–Shugart
                   MEMORANDUM
                                                             Assignment) [Docket No. 34–1]. 2
I. BACKGROUND
Medtronic sued PETCO Animal Supplies Stores, Inc.             *2 Pursuant to the Miller–Shugart Agreement, PETCO
                                                        1    and Medtronic agreed as follows:
and International Pet Supplies and Distribution, Inc.
(collectively “PETCO”) after an aquarium heater
Medtronic purchased from PETCO allegedly overheated


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 25 of 44


                                                               impartial jury would likely and reasonably return.”
  (1) As a direct and proximate cause of a malfunction         Medtronic agreed to seek recovery for this judgment
  in the aquarium heater, Medtronic suffered property          only from ICNA or any other insurer of Meiko, and not
  damage and business interruption losses in the total         PETCO. Id., p. 5, ¶¶ 1–2; p. 5, ¶ 6.
  amount of $2,031,705.92—an amount that included
  prejudgment interest and taxable costs. Butler Aff., Ex.     (8) PETCO agreed to assign their claims against ICNA
  1, p. 1                                                      for coverage and defense costs to Medtronic. Id., p. 6,
                                                               ¶ 4.
  (2) ICNA's policy provided liability coverage to
  indemnify PETCO and IPSD from negligence claims in           (9) PETCO agreed to pay Medtronic $63,237.22 as
  the amount of $2,000,000 annual aggregate limit and          additional damages, and their insurer Chartis, agreed to
  $2,000,000 occurrence limit. Id., pp. 1, 2                   pay $286,762.78, 3 for a total of $350,000. In the event
                                                               that Medtronic recovered any amounts from ICNA or
  (3) There was a strong likelihood that a reasonable
                                                               others, Medtronic agreed to pay back to PETCO up
  and impartial jury would find that Medtronic suffered
                                                               to the amount of $350,000 based on how much was
  damages in the amount of $1,746,000, consisting of
                                                               recovered by Medtronic from these other sources. Id.,
  $1,296,000 in total inventory write-off and $450,000 in
                                                               pp. 8–9, ¶¶ 13, 14.
  “total Non–OP Expense (personnel costs and outside
  vendor services). Id., p. 3
                                                              *3 PETCO and Medtronic also entered into a Miller–
  (4) Defendants incurred attorneys' fees and expenses       Shugart Assignment, under which PETCO assigned their
  in defense of the Medtronic action and in pursuing         claims against ICNA and Meiko to Medtronic. Butler
  insurance coverage in the DJ action in the amount of       Aff., p. 14. The Assignment required PETCO to cooperate
  $286,762.78. Id.                                           with Medtronic in its prosecution of claims against ICNA,
                                                             including meeting with Medtronic's lawyers to discuss
  (5) Medtronic would be entitled to prejudgment interest    facts underlying the claims and to provide testimony, if
  from the date of the fire (May 20, 2007) plus taxable      required. Id., p. 14.
  costs, totaling $184,166.19. Id.
                                                             The Medtronic action was dismissed with prejudice on
  (6) At the settlement conference on October 27, 2010,      December 17, 2010, based on the parties' stipulation.
  PETCO made a settlement demand to ICNA and                 [Medtronic action, Docket Nos. 66, 67 and 68].
  put ICNA on notice that it intended to enter into a
  Miller–Shugart Agreement if ICNA continued to deny         On October 28, 2010, the day after the settlement
  coverage. ICNA continued to deny coverage and did          conference, Henson & Efron withdrew as counsel for
  not make any reasonable offers to settle Medtronic's       PETCO in the DJ action and Yost & Baill, Medtronic's
  claims. PETCO put ICNA on notice of the possibility        attorneys, substituted for Henson & Efron. See Notice
  of a Miller–Shugart Agreement on July 9, 2010 and          of Withdrawal and Substitution of Counsel [DJ action,
  continued to warn ICNA about such an agreement             Docket No. 23]. On December 3, 2010 ICNA subpoenaed
  up through the date of the settlement conference on        Aaron Ponce, PETCO's attorney in the Medtronic action.
  October 27, 2010. Id., pp. 4–5, 7.                         Harder Aff., Ex. B (Subpoena to Testify at a Deposition or
                                                             to Produce Documents in a Civil Action) [Docket No. 31].
  (7) PETCO stipulated to judgment against them
                                                             The subpoena sought Ponce's testimony at a deposition
  in the amount of $1,050,000, plus prejudgment
                                                             and the production of the following documents:
  interest and taxable costs. The amount “[was] based
  on a careful assessment of the nature and extent             1. Any and all correspondence by or between the
  of Plaintiff's damages, analysis of liability risks,         attorneys or insurers including but not limited to the
  uncertainty regarding a decision on a pending motion         insurance claims handlers, representatives, or adjusters,
  from the Federal Magistrate regarding the admissibility      for any of the named parties in the case entitled,
  of Defendants' sole expert's testimony, and Defendant's      Medtronic, Inc. v. PETCO Animal Supplies Stores, Inc.,
  self-insured retention before their excess carrier would     and International Pet Supplies and Distribution, Inc.,
  provide coverage, and of what a reasonable and



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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 26 of 44


  United States District Court Case No. 0:09–cv–00363–         Pursuant to Fed. R. Civ. Procedure 45(c)(3)(A)(iii) and
  DWF–JSM                                                      (iv), “[o]n timely motion, the issuing court must quash
                                                               or modify a subpoena that * * * (iii) requires disclosure
  2. Any and all documents pertaining to the evaluation of     of privileged or other protected matter, if no exception
  the matter by or on behalf of any of the named parties,      or waiver applies; or (iv) subjects a person to undue
  their attorneys, or their insurers in the case entitled      burden. The court has the discretion to determine when
  Medtronic, Inc. v. PETCO Animal Supplies Stores,             it is appropriate to quash a subpoena pursuant to Rule
  Inc., and International Pet Supplies and Distribution,       45. Pamida, Inc. v. E.S. Originals, Inc., 281 F.3d 726,
  Inc., United States District Court Case No. 0:09–cv–         728 (8th Cir.2002); Miscellaneous Docket Matter # 1 v.
  00363–DWF–JSM, including but not limited to the              Micellaneous Docket Matter # 2, 197 F.3d 922, 925 (8th
  claims file and claims notes, settlement evaluations,        Cir.1999).
  recommendations, demands or requests, and reserves.
                                                               PETCO and Ponce moved to quash the subpoena because
  3. Copies of statements by parties or non-parties in
                                                               it sought “information [ICNA] knows is subject to the
  your possession or under your control. For the purpose
                                                               attorney-client privilege and the work product doctrine.”
  of this Request, a statement is (a) a written statement
                                                               Plaintiffs' Memorandum of Law in Support of Motion to
  signed or otherwise adopted or approved by the person
                                                               Quash (“Pl.Mem.”), p. 4 [Docket No. 30]. Additionally,
  making it, or (b) a stenographic, mechanical, electrical
                                                               PETCO and Ponce submitted that the non-privileged
  or other recording, or a transcription thereof, which is
                                                               information ICNA sought such as statements, pleadings
  a substantially verbatim recital of an oral statement by
                                                               and discovery, could be obtained through other sources.
  the person making it and contemporaneously recorded.
                                                               Id., p. 7.
  4. Any and all pleadings and discovery responses,
  including but not limited to responses to                    In response, ICNA argued that Ponce's deposition and
  Interrogatories, Requests for Production, and Requests       the documents it sought were essential to determining
  for Admissions, Orders, Notices and correspondence           the reasonableness (and therefore the enforceability) of
  from the Court, memoranda, briefs and any documents          the Miller–Shugart Agreement, or whether the settlement
  submitted on any motion.                                     was obtained through fraud or collusion. Defendant's
                                                               Memorandum of Law in Opposition to Motion to Quash
  5. Any and all documents regarding any individual            (“Def.Mem.”), pp. 4–13 [Docket No. 33]. According
  you expect to call as an expert witness at trial of          to ICNA, claims of privilege do not apply or are
  this matter, whom you have consulted in anticipation         waived where parties have entered into a Miller–Shugart
  of litigation or preparation for trial, or who has           agreement, and courts have “repeatedly considered
  provided an evaluation of this matter in the case entitled   evidence derived from the depositions of attorneys who
  Medtronic, Inc. v. PETCO Animal Supplies Stores,             represented the parties in the underlying litigation” when
  Inc., and International Pet Supplies and Distribution,       inquiring into the reasonableness (and, therefore, the
  Inc., United States District Court Case No. 0:09–cv–         enforceability) of such an agreement. Id., pp. 7–9. Further,
  00363–DWF–JSM, including but not limited to the              ICNA asserted both the substitution of PETCO's counsel
  individual's curriculum vitae, the individual's report,      with Medtronic's counsel, Yost & Baill, in the DJ action,
  opinions, findings, or evaluation, and any photographs,      and the language of the Miller–Shugart Agreement itself,
  tests, results or other bases used, considered or relied     which required PETCO to cooperate with Medtronic,
  upon by the individual in rendering such a report,           establishes that Medtronic and PETCO contemplated a
  opinion, finding or evaluation.                              waiver of the attorney-client privilege and work product
                                                               doctrine. Id., p. 11. As to the effect of the substitution of
*4 Id.                                                         counsel, ICNA maintained that Yost & Baill “inevitably
                                                               carry with them the information, documents, opinions,
This matter is now before the Court on PETCO and               work product, etc. that they obtained or rendered in
Ponce”s motion to quash the subpoena.                          the course and scope of representation of Medtronic.”
                                                               Id., p. 10. Consequently, once Yost & Baill became
                                                               PETCO's counsel in the DJ action, all of its attorney-client
II. PLAINTIFFS' MOTION TO QUASH SUBPOENA


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...    08/17/17 Page 27 of 44


communications, work product documents, opinions, and           When the plaintiff served a garnishment summons on
legal research relating to the Medtronic action were            Milbank for the judgment, Milbank answered, alleging
“inherently communicated and/or provided to PETCO,              that it was not bound by the judgment. Id. The parties then
waiving any privileges that would otherwise attach to           filed cross-motions for summary judgment—plaintiff for
such knowledge and materials.” Id. Second, by requiring         the policy limits of $50,000 and Milbank for an order that
PETCO to cooperate with Medtronic in the DJ action,             the confessed judgment was invalid. Id.
any privileges that may have applied to the information
sought by ICNA via the subpoena have been waived.               The Minnesota Supreme Court analyzed the validity
Id., p. 11. Finally, ICNA argued that the requested             of the settlement agreement under a two-part test: (1)
discovery should be allowed pursuant to Fed.R.Civ.P.            whether the agreement was the product of fraud or
26(b)(3), which provides that parties may access materials      collusion perpetuated on the insurer by the settling
otherwise protected by the work product doctrine on a           parties; and (2) whether the judgment amount reflected
showing of substantial need and the inability, without          a reasonable and prudent settlement. Id. at 733. Milbank
undue hardship, of obtaining their substantial equivalent       complained that fraud and collusion were evidenced by
elsewhere. Id., p. 6.                                           the parties settling their claims over its objections and
                                                                contrary to the insurer's best interests and in stipulating to
 *5 Deciding PETCO's and Ponce's motion to quash                judgment for twice the policy limits. Id. at 734. The court
ICNA's subpoena requires a brief review of Miller–              found otherwise, noting that there was nothing about
Shugart settlements, as judicial construction of those          this conduct that was necessarily fraudulent, particularly
settlements is central to ICNA's position that courts have      since the plaintiff recognized that Milbank's policy limit
recognized an implied waiver of privileged and protected        was $50,000 and sought no more than that amount in
materials in the context of Miller–Shugart settlements.         her motion for summary judgment. Id. In addition, the
                                                                defendant insureds had a right to make a settlement
                                                                relieving them of liability, and they notified Milbank
   A. Miller–Shugart Settlements                                of what they were doing. Under those facts, the court
When an insurance carrier denies coverage for a liability       concluded that there was no fraud or collusion as a matter
claim brought by its insured, the insured and plaintiff         of law. Id.
may agree to entry of judgment against the insured,
on the condition that the judgment is collectible only           *6 Having determined the settlement was free of fraud
from the insurer. Miller v. Shugart, 316 N.W.2d 729,            or collusion, the court turned to the second prong of
734 (Minn.1982); see also Peterson v. Wilson Twp., 672          the test of enforceability—whether the settlement was
N.W.2d 556, 557, n. 1 (Minn.2003) (same). In Miller v.          reasonable and prudent. Id., p. 735. The court held that
Shugart, a plaintiff injured in a car accident and two          the plaintiff (now a judgment creditor) bears the burden
defendants (the driver and owner of the car), entered           of proof on the question of reasonableness, to which
into a settlement in which the defendants stipulated            the court applied an objective standard: “[t]he test as
to judgment in the amount of $100,000. This amount              to whether the settlement is reasonable and prudent is
was twice the limits of the Milbank Mutual Insurance            what a reasonably prudent person in the position of
Company policy insuring the car. Id. at 732. The                the defendant would have settled for on the merits of
settlement was reached during the pendency of Milbank's         plaintiff's claim. This involves a consideration of the
appeal of the district court's decision that Milbank's          facts bearing on liability and damage aspects of plaintiff's
policy covered both the driver and owner of the car             claim, as well as the risks of going to trial....” Id. The
and after plaintiff had commenced her personal injury           court noted the evidence that the plaintiff was injured as
action against both defendants. Id. Milbank was advised         the passenger in a single-car accident in which the car
twice by the defendants' counsel that he was negotiating        left the road and hit a tree. As to damages, Milbank
a settlement with the plaintiff. Milbank was invited to         did not dispute that the plaintiff suffered “severe and
participate in the negotiations, but refused, indicating that   disfiguring personal injuries.” Further, Milbank's counsel
it believed it could not do so until the coverage question      reviewed the liability and damages aspects of the claim and
was decided on appeal. Id.                                      concluded that “there was a substantial likelihood that
                                                                ultimately judgment would be entered against his clients



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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 28 of 44


* * * for more than any possible insurance coverage.”
Id. at 736. On these facts, the court concluded that the        4) The settlement amount is later deemed to be
settlement was reasonable and prudent as a matter of law.       reasonable;
Id. Key to the court's decision to approve the settlement
                                                                5) The insured could have liability to the claimant;
was its consideration of the competing interests of the
insurer and the insured:                                        6) The settlement was not the product of fraud or
                                                                collusion; and
            If the insurer ignores the
            “invitation” to participate in the                  7) Coverage is ultimately determined to exist for the
            settlement negotiations, it may run                 claim that became a judgment.
            the risk of being required to
            pay ... an inflated judgment. On                  Id. at 23; see also Hartfiel v. McLennan, 430
            the other hand, if the insurer                    N.W.2d 215, 219 (Minn.Ct.App.1988) (genuine issues
            decides to participate in the                     of material fact regarding defendant's comparative
            settlement discussions, ordinarily                fault for accident preclude summary judgment on the
            it can hardly do so meaningfully                  reasonableness of a Miller–Shugart settlement); Steen v.
            without abandoning its policy                     Those Underwriters at Lloyds, London, 442 N.W.2d 158,
            defense. Nevertheless, it seems to us,            164 (Minn.Ct.App.1989) (if settling defendant breaches
            if a risk is to be borne, it is better            the duty of cooperation clause of its policy, Miller–
            to have the insurer who makes the                 Shugart agreement may be void); Buysse v. Baumann–
            decision to contest coverage bear the             Furrie & Co., 481 N.W.2d 27, 29 (Minn.1992) (an
            risk.                                             “authentic” Miller–Shugart agreement requires that the
                                                              insurer has denied all coverage); Bob Useldinger & Sons,
Id. at 734; see also Theodore J. Smetak,                      Inc. v. Hangsleben, 505 N.W.2d 323, 330 (Minn.1993)
Minnesota Commercial General Liability Insurance Policy:      (holding that when the insurer admits to some coverage,
Annotated, at 23 (2008) (“[t]he essence of the Miller         a Miller–Shugart settlement will be deemed to be in bad
Shugart agreement is grounded in concepts long                faith); Independent Sch. Dist. 197 v. Accident & Cas. Ins.,
recognized in Minnesota law. The Miller Shugart               525 N.W.2d 600, 607 (Minn.Ct.App.1995) (evidence of
agreement is, in part, an attempt to balance an insured's     collusion and lack of reasonableness include settlement for
duty to cooperate with that party's right to protect itself   twice the plaintiff's claimed compensatory damages and
during a period of disputed coverage”).                       plaintiff's retaining defendant's national insurance counsel
                                                              to pursue coverage claims against the insurers); Burbach
In the nearly thirty years since Miller v. Shugart was        v. Armstrong Rigging & Erecting, Inc., 560 N.W.2d 107,
decided, Minnesota courts have further refined the test       109–10 (Minn.Ct.App.1997) (insurer not deemed to have
for the enforceability of these agreements. Id. at 12         denied all coverage when it made a substantial offer of
(noting that the “elements of the Miller Shugart emerged      settlement).
somewhat haltingly over several years before the doctrine
became reasonably accepted.”).                                “Collusion, for purposes of a Miller–Shugart settlement,
                                                              is a lack of opposition between a plaintiff and an insured
In general, a Miller–Shugart settlement will be enforceable   that otherwise would assure that the settlement is the
against the insurer if:                                       result of hard bargaining.” Independent Sch. Dist. 197,
                                                              525 N.W.2d at 607. “In most cases, the only potential
  1) The insurer has denied all obligations to pay damages
                                                              collusion is between the insured and the plaintiff, and the
  on behalf of the insured;
                                                              collusion inquiry is therefore satisfied by determining if
  2) The insurer (if it is not deemed to have waived          the settlement is reasonable.” Koehnen v. Herald Fire Ins.
  notice) has received notice of the settlement and an        Co., 89 F.3d 525, 529 (8th Cir.1996) (citation omitted). But
  “opportunity” to participate;                               a settlement that shifts financial liability from one insurer
                                                              to another insurer is collusive as a matter of law when the
   *7 3) The insured is left without coverage by any other    insurer from whom the settlement funds are collectible was
  insurer to pay the claimed damages;                         deprived of an opportunity to participate in the settlement


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 29 of 44


process.” Id. at 530; Burbach, 560 N.W.2d at 110 (“[it                      an undisputed injury; the risks of
was never the intent of Miller–Shugart to shift the risk of                 trial; expert testimony for both
defense and coverage from one insurer to another.”)                         parties on issues of the likely
                                                                            size of a jury award, the extent
The Minnesota Supreme Court described the process                           of damages and liability; and the
for evaluating the reasonableness of a Miller–Shugart                       judge's own personal experience
settlement in Alton M. Johnson Co. v. M.A.I. Co.:                           with jury awards in similar areas.

            The ultimate issue to be decided                  Id. at 904.
            is the reasonableness of a
            settlement which avoids a trial.                  Based on these factors, courts considering the
            Reasonableness, therefore, is not                 reasonableness of a Miller–Shugart settlement have
            determined by conducting the very                 relied on settlements or jury verdicts in similar cases,
            trial obviated by the settlement.                 (McNicholes v. Subotnik, 12 F.3d 105, 110 (8th Cir.1993));
            Consequently, the decisionmaker                   expert deposition testimony on the reasonableness of the
            receives not only the customary                   settlement, (Brownsdale Co-op Ass'n v. Home Ins. Co.,
            evidence on liability and damages                 473 N.W.2d 339, 342 (Minn.Ct.App.1991)); and expert
            but also other evidence, such                     opinion testimony on the possible total jury damage
            as expert opinion of trial                        award, (Schmid v. Fireman's Fund Ins. Co., Inc., Civ. No.
            lawyers evaluating the “customary”                98–2355 (ADM/AJB), 2001 WL 1640029 at *4 (D.Minn.
            evidence. This “other evidence”                   Dec. 19, 2001)); D.E.M. v. Allickson 555 N.W.2d 596, 603
            may include verdicts in comparable                (N.D.1996) (affirming district court's finding that Miller–
            cases, the likelihood of favorable                Shugart settlement of $300,000 was reasonable, based in
            or unfavorable rulings on legal                   part on plaintiff's expert's testimony that, “based on his
            defenses and evidentiary issues if the            vast experience,” a jury could have returned a verdict up
            tort action had been tried, and other             to $1.8 million)).
            factors of forensic significance. The
            evaluation of this kind of proof is               Courts have also relied on the opinions of attorneys
            best understood and weighed by a                  retained as experts to support or defeat a Miller–Shugart
            trial judge.                                      settlement. See Burbach, 560 N.W.2d at 111 (error for the
                                                              district court to fail to address an affidavit by insurer's
*8 463 N.W.2d 277, 279 (Minn.1990).                           expert attorney stating that the settlement amount was
                                                              unreasonable); S.G. v. St. Paul Fire & Marine Ins. Co., 460
The court re-emphasized the multi-factorial nature of the     N.W.2d 639, 644 (Minn.Ct.App.1990) (insured produced
reasonableness inquiry in connection with Miller–Shugart      prima facie evidence of the reasonableness of the Miller–
settlements in Jorgenson v. Knutson, 662 N.W.2d 893           Shugart settlement in the form of opinions in affidavits
(Minn.2003). There, the court stated that it was error for    from several lawyers, together with defendant's knowledge
the Minnesota Court of Appeals to focus its inquiry into      of the facts of his own negligence).
the reasonableness of a Miller–Shugart settlement solely
on what amount of damages the jury could have awarded,        Offering expert opinions from attorneys who are strangers
noting:                                                       to the case is a far different matter, however, from
                                                              requiring a lawyer representing one of the settling parties
            “what a jury could award” is
                                                              to submit to a deposition regarding his opinion of
            an appropriate factor in assessing
                                                              the settlement and other settlement-related topics. At
            the reasonableness of a Miller–
                                                              the core of ICNA's opposition to PETCO and Ponce's
            Shugart settlement, [but] it cannot
                                                              motion to quash is its argument that it is entitled to
            be considered in isolation. The court
                                                              Ponce's testimony to defend against the Miller–Shugart
            must also consider all the other
                                                              settlement. This Court found no support for that position
            relevant factors that we mentioned
                                                              in any of the cases cited above or in any of the cases
            in Miller v. Shugart ... such as
                                                              cited by ICNA. Further, the Court uncovered no support


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 30 of 44


for ICNA's argument that the courts of this jurisdiction
have recognized a per se “implied waiver” of the attorney-    Because the attorney-client privilege belongs to the
client privilege and work product protection when parties     client, it may be waived explicitly by the client. Id. at
enter into a Miller–Shugart settlement or where the           440. In addition, the attorney-client privilege may be
settling insured (i.e. PETCO) assigned its coverage claim     impliedly waived. State v. Walen, 563 N.W.2d 742, 753
to the plaintiff (i.e. Medtronic) in the underlying action    (Minn.1997) (citations omitted). 5 In Baker, the court
and plaintiff's counsel took over the prosecution of the      stated that “a waiver of the attorney-client privilege may
coverage case. As described more fully below, this Court      be found where the client places the subject matter of the
concludes that PETCO and Ponce's motion to quash              privileged communication at issue” and then described
ICNA's subpoena should be granted.                            “two situations in which at-issue waiver is commonly
                                                              found.” 209 F.3d at 1055.

   B. Waiver of Attorney–Client Privilege and Work
   Product Protection by Entering into a Miller–Shugart         The first is when proof of a party's legal contention
   Settlement                                                   implicates evidence encompassed in the contents of
 *9 In a case in federal court based on diversity, the          an attorney-client communication-for example, when a
Court “applies federal law to resolve work product claims       client uses reliance on legal advice as a defense or when
and state law to resolve attorney-client privilege claims.”     a client brings a legal malpractice action. See State v.
Baker v. General Motors Corp., 209 F.3d 1051, 1053 (8th         Campbell, 913 S.W.2d 832, 837 (Mo.Ct.App.1995); see
Cir.2000) (citing Simon v.. G.D. Searle & Co., 816 F.2d         also People v. Mitchell, 454 Mich. 145, 560 N.W.2d 600,
397 (8th Cir.1987)). See also Union County, Iowa v. Piper       612 n. 27 (Mich.1997) (defendant who asserts ineffective
Jaffray & Co., Inc., 525 F.3d 643, 646 (8th Cir.2008)           assistance of counsel waives attorney-client privilege).
(“Because this is a diversity case, the determination of        The second is when a client's testimony refers to a
whether attorney-client privilege applies is governed by        specific privileged document. See, e.g., Charles Woods
state law.”); PepsiCo, Inc. v. Baird, Kurtz & Dobson LLP,       Television Corp. v. Capital Cities/ABC, Inc., 869 F.2d
305 F.3d 813, 817 (8th Cir.2002) (“This Court applies           1155, 1162 (8th Cir.1989) (applying Missouri law to
federal law to work product claims.”).                          find no at-issue waiver when witness testified generally
                                                                about an issue and never mentioned any particular
The attorney-client privilege is defined in Minn.Stat.          communication); McCarthy[v. Belcher ], 340 N.W.2d
§ 595.02(b). 4 The essential elements of the attorney-          at 850 (attorney-client privilege waived when client
client privilege are: “(1) where legal advice of any kind       testifies on direct examination about a communication).
is sought (2) from a professional legal advisor in his           *10 Id.; see also Walen, 563 N.W.2d at 752 (“[o]ne
capacity as such, (3) the communications relating to            type of implicit waiver occurs when the client alleges
that purpose, (4) made in confidence (5) by the client,         a breach of duty to him by the attorney.”) (quotation
(6) are at his instance permanently protected (7) from          omitted); Plaintiffs' Supplemental Memorandum of
disclosure by himself or the legal advisor, (8) except          Law in Support of the Motion to Quash the Subpoena
the privilege may be waived.” Kobluk v. University of           (“Pl.Supp.Mem.”), pp. 3–4 (“Implied waiver occurs
Minn., 574 N .W.2d 436, 440 (Minn.1998). “An attorney           when a client sues a former attorney for malpractice, a
cannot, without the consent of the attorney's client, be        client testifies about an attorney-client communication,
examined as to any communication made by the client             a client asserts ‘advice of counsel’ as a defense, ... [or]
to the attorney or the attorney's advice given thereon          when a party intends to prove its case or an affirmative
in the court of professional duty * * *, without the            defense through the use of privileged material.”)
client's consent.” Id. n. 4 (citing Minn.Stat. § 595.02,        (citations omitted).
subd. 1(b) (1996)). The privilege is strictly construed and   The attorney work product doctrine was first articulated
protects communications, not information. Id. at 443          in Hickman v. Taylor, 329 U.S. 495, (1947), and later
(“[T]he attorney-client privilege protects communications     expressed in Fed. Rule Civ. P. 26(b)(3)(A), which
rather than information except to the extent that * * *       provides:
disclosure would reveal confidential communications.”)
(internal quotation and citation omitted).                                Ordinarily, a party may not discover
                                                                          documents and tangible things


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 31 of 44


            that are prepared in anticipation                 privilege and work-product protection when it entered
            of litigation or for trial by                     into a Miller–Shugart settlement, obtained Medtronic's
            or for another party or its                       agreement to cooperate, and retained Medtronic's counsel
            representative (including the other               from the Medtronic action to represent it in the
            party's attorney, consultant, surety,             instant case. Def. Mem., pp. 7–10; see also Defendant's
            indemnitor, insurer, or agent). But,              Supplemental Responsive Memorandum of Law In
            subject to Rule 26(b)(4), those                   Opposition To Motion To Quash The Subpoena (“Def.
            materials may be discovered ...                   Supp. Reply Mem.”), p. 3 [Docket No. 41] (“Medtronic
            if ... the party shows that it has                and PETCO affirmatively, and voluntarily, chose to take
            substantial need for the materials                three specific actions that have placed their privileged
            to prepare its case and cannot,                   information at issue: 1) Medtronic and PETCO chose
            without undue hardship, obtain                    to enter into a Miller–Shugart agreement; 2) Medtronic
            their substantial equivalent by other             and PETCO chose to seek enforcement of the agreement
            means.                                            exclusively against INA; and 3) Medtronic and PETCO
                                                              chose to substitute PETCO's counsel with that of
The work product protection is not absolute, however,         Medtronic's to prosecute the insurance coverage and
and it too may be waived. United States v. Nobles, 422 U.S.   enforcement actions.”).
225, 239 (1975); see also In re Chrysler Motors Corp., 860
F.2d 983, 988 (8th Cir.1997) (disclosure to an adversary       *11 Initially, ICNA relied on Corn Plus Coop. v.
waives work product protection as to items actually           Continental Cas. Co., Civ. No. 04–4270, 2007 WL 107676
disclosed). Even the nearly absolute immunity of attorney-    (D.Minn. Jan. 9, 2007) to support its theory that when a
opinion work product may be lost if a client places his       party enters into a Miller–Shugart settlement, its counsel
attorney's opinions into direct issue by designating his      can be required to testify in the coverage action. Def.
attorney as an expert witness. Minnesota Speciality Crops,    Mem., pp. 7–8. In that case, Corn Plus sued Wanzek
Inc. v. Minnesota Wild Hockey Club, L.P., 210 F.R.D. 673,     Construction in federal court, alleging negligence and
677 (D.Minn.2002) (citing Hager v. Bluefield Reg'l Med.       breach of contract in connection with Wanzek's work on
Ctr., Inc., 170 F.R.D. 70, 78 (D.D.C.1997)). Further, the     Corn Plus's ethanol plant. Corn Plus, 2007 WL 107676
work product privilege extends beyond the termination of      at *1. Wanzek then sued Corn Plus in state court for
litigation. In re Murphy, 560 F.2d 326, 334 (8th Cir.1977).   foreclosure of a mechanic's lien it held on the plant and
                                                              Corn Plus counterclaimed, alleging the same claims it
At the same time, even if a party can meet the requirement    had asserted in the federal suit. Id.; see also Order Oct.
of substantial need, and the court orders discovery           5, 2006 at p. 2 [Corn Plus Docket No. 187]. Wanzek's
of work product materials, the court “must protect            insurer, CNA, subsequently filed a declaratory judgment
against disclosure of the mental impressions, conclusions,    action in state court regarding its duty to defend and
opinions, or legal theories of a party's attorney or other    indemnify Wanzek. [Corn Plus Docket No. 187] (Order
representative concerning the litigation.” Fed. Rule Civ.     Oct. 5, 2006 at p. 2). Eventually, Wanzek and Corn
P. 26(b)(3)(B).                                               Plus agreed to consolidate all the actions in the state
                                                              court action and entered into a Miller–Shugart settlement
Ponce's former clients PETCO and IPSD have not                pursuant to which Wanzek stipulated to a settlement of
voluntarily waived the attorney-client privilege and          $2,500,000, collectable from Wanzek's insurers. Corn Plus,
vigorously oppose Ponce's deposition. Pl. Mem., pp.           2007 WL 107676 at *1. Thereafter, the state declaratory
6, 7. Additionally, PETCO and Ponce have claimed              judgment action was removed to federal court, 6 and the
that the materials ICNA seeks are “wrought with the           insurers moved for summary judgment, arguing that the
analysis of legal theories, opinions, conclusions, and        Miller–Shugart agreement was unenforceable because it
mental impressions of counsel which must be insulated         was collusive and unreasonable as a matter of law. Id.
from discovery by ICNA.” Id., p. 7. ICNA does not point
to an express waiver of the PETCO plaintiff's attorney-       ICNA correctly points out that the court relied upon
client privilege or Ponce's work product. Rather, its         and cited extensively from the deposition transcripts
theory is that PETCO impliedly waived the attorney-client     of Kyle Hart and Jane Volz, attorneys for Corn Plus,



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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 32 of 44


and Barbara Burke, the attorney hired by Continental
Casualty Company to represent Wanzek in the underlying            A. We formerly represented Wanzek, correct. * * *
litigation. Def. Mem., p. 8. In fact, the Corn Plus
                                                                  Q. One of the things I was getting to way back when at
decision frequently references the attorneys' damages
                                                                  the beginning of this deposition, Mr. Hart, is I haven't
calculations and the basis of the settlement amount.
                                                                  seen a judgment debtor's attorney end up representing
Id. at *3 (“[a]ccording to Corn Plus's attorney, the
                                                                  a judgment creditor in a Miller–Shugart action before
$2,500,000 settlement represented all variables involved in
                                                                  because its unusual. * * *
the case, including the costs associated with the repair and
replacement of the defective welds. (Volz Dep. at 193)”). A       A. I don't know if it's unusual or not. I've not seen it
close examination of the pleadings in Corn Plus, however,         often. I see nothing wrong with it, however.
indicates that neither Hart nor Volz ever opposed their
depositions.                                                    [Corn Plus Docket No. 145–6 at p. 4].

Continental Casualty served Hart with a subpoena duces          Based in part on Hart's former representation of Wanzek,
tecum, which Hart did not oppose. [Corn Plus Docket             Continental Casualty moved to disqualify Volz, Hart and
No. 81]. Attorney Barbara Burke and the Cousineau               the Fabyanske law firm (of which Hart was a member)
McGuire law firm, which was retained by Continental             from continuing their representation of Corn Plus. [Corn
Casualty Company to defend Wanzek in the underlying             Plus Docket No. 143] (Continental's Memorandum of
action, moved to quash the subpoena served upon them            Law in Support of its Motion to Disqualify the Fabyanske
by Lumbermans—the Wanzek's excess carrier. [Corn                Law Firm and Jane Volz from Further Representation
Plus Docket No. 116]. Burke opposed the subpoena                of Corn Plus in this Action). Former Magistrate Judge
on the ground that it sought attorney-client privileged         Susan Richard Nelson denied that motion, noting that
communications between Burke and her client Wanzek              “[Fabyanske] may represent Corn Plus and Wanzek
and work-product protected materials. [Corn Plus Docket         without significant risk of one representation materially
No. 118] (Attorney Barbara Burke's and Cousineau                limiting the other.” [Corn Plus Docket No. 187] (Order
McGuire's Memorandum of Law in Support of Motion to             Oct. 5, 2006 at p. 9). In so doing, Judge Nelson determined
Quash Subpoena Duces Tecum, p. 10–12). Lumbermans'              that the interests of Corn Plus and Wanzek were not
response to Burke's motion to quash indicated that in           adverse in the declaratory judgment action, (Id. at pp. 7–
the interim between its service of the subpoena and             8), and that their interests were “entirely aligned.” Id. at
its response, Wanzek provided a waiver of attorney-             p. 9.
client privilege, thus resolving Burke's chief concern
regarding the subpoena. [Corn Plus Docket No. 123]              These facts do not support ICNA's position that the court
(Defendant Lumbermens' Mutual Casualty Company's                in Corn Plus recognized an implied waiver of the attorney-
Memorandum in Response to the To the Motion to                  client privilege or work-product doctrine. The court was
Quash, p. 4 (“In light of the fact that a waiver has been       never called upon to reach that conclusion, and there
secured ... Cousineau can now produce the documents.”);         is nothing to indicate that the attorneys' testimony was
p. 6 ( [“W”]hen Mr. Christensen did speak with Ms.              anything but voluntary. Indeed, there no discussion in
Burke, the issues regarding the scope of the subpoena           the Corn Plus decision that the Miller–Shugart settlement
were resolved.”). Burke's motion was denied without             itself operated as a waiver of attorney-client privilege
prejudice, and without the issuance of an order from the        or that Hart's substitution as attorney for Corn Plus
district court, no doubt a result of the parties' reaching an   after representing Wanzek acted as a waiver. To the
agreement on the subpoena. [Corn Plus Docket No. 134].          contrary, the court found that Hart's prior representation
                                                                of Wanzek and then substitution as counsel for Corn Plus
 *12 Notably, Hart represented Wanzek Construction in           in the coverage action was completely proper as their
the underlying suit and then represented Corn Plus in           interests were “entirely aligned.”
the declaratory judgment action against the insurers to
enforce the Miller–Shugart settlement. [Corn Plus Docket        Similarly, there is no indication in Zurich Reinsurance v.
No. 187 (Order Oct. 5, 2006 at p. 3) ]. Hart's deposition       Canadian Pacific, 613 N.W.2d 760 (Minn.Ct.App.2000),
contained the following exchange:                               also cited by ICNA in its initial response, (Def.Mem.,



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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 33 of 44


pp. 8–9), that the court ordered the attorney to sit for      communications. S.G. v. St. Paul Fire & Marine, 460
his deposition over his objection. There, Zurich sought a     N.W.2d 639, 644 (Minn.Ct.App.1990) referenced an
declaratory judgment that the Miller–Shugart settlement       insured's attorney's advice to him regarding the size of
entered into by Canadian Pacific (its insured) and personal   typical jury awards in a negligent transmission of herpes
injury claimants was unreasonable and unenforceable           case. Yet, there are no facts to support an implied waiver
against it. Zurich Reinsurance, 613 N.W.2d at 764–65. The     and the brief excerpt can as easily be interpreted to
district court granted summary judgment for the settling      refer to the client's testimony about his lawyer's advice,
parties and Zurich appealed. In the excerpt of the Court      not the lawyer's revelation of attorney-client privilege
of Appeals decision cited by ICNA, the court noted that:      communications. In any event, under no circumstances
                                                              does St. Paul Fire & Marine support ICNA's position.
   *13 The [claimants] did not claim punitive damages,
  and counsel for both the [claimants] and Canadian           In Stan Koch & Sons Trucking, Inc. v. Great West Cas.
  Pacific indicated that the settlement was based on          Co., 517 F.3d 1032, 1036–38 (8th Cir.2008) attorney Ted
  compensatory damages and in no way included punitive        Smetak recommended that his client Great West deny
  damages. In his deposition, the [claimants] counsel         coverage for a wrongful death claim brought against a
  said there was no discussion of punitive damages            party that arguably had coverage for the accident under
  during the settlement discussions. When asked about         a Great West policy. Excerpts from Smetak's coverage
  the facts forming the basis of his opinion about punitive   analysis are reflected in the opinion. Id. at 1036. From this
  damages, he added: “That was not my conversation            ICNA deduced that there was a waiver of attorney work
  with the defendant. I never claimed punitive damages        product. Def. Mem., p. 9. The opinion indicates, however,
  against the defendant. We did not settle this case based    that Great West itself provided Smetak's coverage analysis
  on punitive damages. We based the settlement on the         to its insured's risk manager. Id. at 1038. Again, there
  basis of compensatory damages. But if the case was          is no indication that the disclosure of Smetak's work
  going to be tried, I certainly intended * * * to attempt    product was involuntary, and no discussion of the issue of
  to prove the case for punitive damages and make such        privilege or waiver. As with the other cases cited by ICNA,
  a claim.”                                                   Koch does not support its proposition that the PETCO
                                                              waived their attorney-client privilege and work product
Id. at 764. Based on this brief excerpt, this Court cannot
                                                              protections by entering into a Miller–Shugart settlement.
conclude, as ICNA did, that Zurich Reinsurance stands
for the proposition that the court recognized an implied
                                                               *14 At the motion hearing on PETCO and Ponce's
waiver of privileged and protected materials. As with the
                                                              motion to quash ICNA's subpoena, this Court requested
Corn Plus case, there is no discussion of waiver.
                                                              additional briefing on whether parties waive attorney-
                                                              client privilege and work product protections by entering
Likewise, the other cases cited by ICNA in its initial
                                                              into a Miller–Shugart settlement or by substituting
opposition do not support its “implied waiver” theory.
                                                              counsel. PETCO responded that it could find no cases
See Def. Mem, pp. 8–9. In Vetter v. Sobotnick, 844
                                                              that supported either of these propositions. Plaintiffs'
F.Supp. 1352, 1355 (D.Minn.1992), aff'd by McNicholes v.
                                                              Supplemental Memorandum of Law in Support of the
Subotnik, 12 F.3d 105 (8th Cir.1993), the court indicated
                                                              Motion to Quash the Subpoena (“Pl.Supp.Mem.”), p.
that the plaintiff's lawyer informed him of the risks of
                                                              1 [Docket No. 39]. However, it did point this Court
going to trial. There is no indication that this statement
                                                              to Chomat v. Northern Ins. Co. of New York, 919
fell within the definition of attorney-client privileged
                                                              So.2d 535 (Fl.Dist.Ct.App.2006), where the court rejected
communication, and no discussion within the opinion
                                                              the insurer's attempt to depose counsel for the insured
regarding a waiver. In Alton Johnson v. M.A.I. Co.,
                                                              regarding the reasonableness and good faith of an
451 N.W.2d 651, 654 (Minn.Ct.App.1990), (rev'd on
                                                              agreement similar to a Miller–Shugart agreement (called a
other grounds, 463 N.W.2d 277 (Minn.1990)), the court
                                                              “Coblentz agreement”).
referenced an opinion of the insurer's counsel that the
insurer was in a “precarious position” regarding coverage
                                                              Similarly, ICNA admitted that after conducting
of a claim, but once again, there are no precedent
                                                              “exhaustive research” it could locate no case directly on
facts from which this Court can conclude that this
                                                              point. Def. Supplemental Memorandum in Opposition
reference represented an implied waiver of privileged


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 34 of 44


to Motion to Quash Subpoena (“Def.Supp.Mem.”), p.                          whether the $750,000 in attorneys'
6 [Docket No. 37]. However, after discussing the Eighth                    fees incurred in defending the patent
Circuit's three-factor analysis in Pamida, (see n. 5, supra                infringement action was reasonable
), ICNA directed the Court to four cases which ICNA                        and what action was taken to notify
characterized as addressing “settlements similar to Miller–                Dynasty of the patent infringement
Shugart agreements” and “all ordering disclosure of                        action and Pamida's claim for
privileged information.” Id. (citing GAB Bus. Servs., Inc.                 indemnification.
v.. Syndicate, 809 F.2d 755 (11th Cir.1987); Hueske v.
State Farm Fire & Cas. Co., 2007 WL 656298 (D.N.D.,            Id. at 731. Thus, by bringing the indemnification action for
Feb. 27, 2007); Waste Mgmt., Inc. v. Intl. Surplus Lines       attorneys' fees and costs, Pamida directly put its attorneys'
Ins. Co., 579 N.E.2d 322 (Ill.1991); Lane v. Hartford Acc.     work into issue. See id. (“[h]ere, Pamida instituted this
& Indemn. Co., 1990 WL 255906 (Pa.Com.Pl., Feb. 7,             action by filing a lawsuit for indemnification seeking
                                                               recovery for legal expenses thereby putting the work of
1990)). 7 After reviewing all of these cases, this Court
                                                               its attorneys directly at issue in the case.”) That is not the
finds the reasoning expressed in the cases cited by ICNA
                                                               case here. The sum that Medtronic is seeking to recover
does not comport with the treatment of the attorney-
                                                               from ICNA in the DJ action represents the valuation of
client privilege, work product doctrine and the roles of
                                                               the damages it suffered as a result of PETCO's alleged
insurers and their insureds, and ultimately, a Miller–
                                                               conduct, not attorneys' fees, and PETCO's attorney's fees
Shugart settlement under Minnesota law.
                                                               are not at issue.

For starters, ICNA's reliance on Pamida is misplaced.
                                                               In Lane, an unpublished decision from a Dauphin
Pamida was an indemnification suit in which Pamida
                                                               County, Pennsylvania trial court, plaintiff and defendant
(a retailer) sought from a manufacture (Dynasty)
                                                               stipulated to a $3 million dollar judgment, collectable
reimbursement for attorney's fees and costs it had incurred
                                                               only from defendant's insurer, Hartford. The judgment
for its defense of a patent infringement claim by an
                                                               represented the limits of coverage under the insured-
inventor. 281 F.3d at 728. The inventor sued Pamida
                                                               defendant's policy. Lane, 1990 WL 255906 at *2. The
alleging infringement of her patent for a shoe tying
                                                               plaintiff sued to recover the judgment from Hartford and
system. According to Dynasty, Pamida rebuffed an early
                                                               Hartford subpoenaed the defendant's attorney to obtain
settlement offer of $100,000 and instead embarked on a
                                                               documents and information relating to the settlement,
long and expensive course of litigation, which resulted in
                                                               in which Hartford never participated. Id. The attorney
a settlement of $475,000 and attorney's fees of $750,000.
                                                               resisted the subpoena and sought a protective order on the
Id. In the indemnification action, Pamida engaged the
                                                               ground that it invaded attorney-client privilege and work
same lawyers from Larkin, Hoffman, Daly & Lindgren
                                                               product protected materials. Id. The trial court denied the
(“LHDL”) who had represented it in the defense of the
                                                               attorney's motion for a protective order. Id. at *7.
patent infringement case. Dynasty sought to depose the
LHDL lawyers on whether the $750,000 in legal fees was
                                                               Setting aside the fact that this trial court decision has no
reasonable, among other issues. Id. at 729. LHDL moved
                                                               precedential effect on an issue that the Minnesota courts
for a protective order, which was denied. Id. The Eighth
                                                               have never decided, it is important to note that even the
Circuit affirmed the district court's decision, noting that:
                                                               Lane court was careful to limit its decision to the unique
             *15     Dynasty     is   primarily                facts of that case: “[i]t would seem that at the very least
            seeking information regarding the                  under the facts of the case, i.e. the type of intangible
            concluded patent infringement case,                injury 8 , the relatively high figure, and its coinciding
            not the pending indemnification                    with the amount of coverage, an explanation is called
            action. Furthermore, Dynasty is                    for.” Lane, 1990 WL 255906 at *6. More importantly,
            seeking to depose opposing counsel                 the underpinnings of the decision are not present here.
            to discover information peculiarly                 For example, under Pennsylvania law apparently only
            within counsel's knowledge and                     communications by the client to the attorney are protected
            centrally relevant to the issues                   by the attorney-client privilege and not visa versa, clearly
            in the indemnification action, i.e.,               not the case under Minnesota jurisprudence. Further,



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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 35 of 44


unlike the instant case, Hartford was excluded from           included not only the $200,000 in attorney's fees it had
the settlement negotiations and did not even learn of         expended in defending the claim by JDA Farms, but
the settlement until after it was concluded. Id. at *2.       also “its settlement with JDA Farms and the expense of
Here, ICNA was placed on notice months before the             GAB's investigation.” Id. at 759. In addition, the insurer
settlement conference that PETCO and Medtronic were           challenged the lower court's decision to exclude expert
contemplating a Miller–Shugart agreement, and ICNA            testimony regarding the strength of JDA Farms' case
was present at the settlement conference and given the        as it bore on its decision to pay JDA Farms the full
opportunity to participate in the settlement. 9               $250,000 policy limits in settlement. Id. For its part, GAB
                                                              “complain[ed] that the trial court improperly allowed
 *16 The Heuske decision, also cited favorably by ICNA,       [the insurer] to cloak the substance of its settlement
permitted written discovery on the terms of a confidential    negotiations within the attorney-client privilege.” Id.
settlement between a plaintiff and a defendant, when a
co-defendant and plaintiff had entered into a Miller–         The Eleventh Circuit affirmed the jury's decision as
Shugart agreement. The court found that discovery on the      to GAB's claim against the insurer, but reversed the
confidential settlement, the terms of which were unknown      decision as to the insurer's counterclaim against GAB and
to the insurer, which was potentially liable for payment      remanded the case back to the trial court. In reaching
under the Miller–Shugart settlement, was needed for the       its decision, the court determined that the district court
insurer to gauge the reasonableness of the Miller–Shugart     erred in refusing to permit the questioning of the insurer's
settlement. Heuske, 2007 WL 656298 at * 3. Critical to        lawyers involved in settlement negotiations with JDA
the court's decision was the fact that the insurer had no     Farms concerning the substance of these negotiations and
access to information on the confidential settlement with     the motivation behind them, based on the attorney-client
the co-defendant and “[i]n some cases, evidence regarding     privilege. Id. at 762. The court concluded that the insurer
the amount of a co-defendant settlement may be of             had waived its attorney-client privilege when it “inject[ed]
assistance in evaluating the reasonableness of settlement     into this litigation an issue that require[d] testimony from
with another defendant. Id. Those facts are not present       its attorneys or testimony concerning the reasonableness
here.                                                         of its attorneys' conduct.” Id.

                                                               *17 In reaching its decision, the Eleventh Circuit
In GAB Bus. Servs., 10 JDA Farms had an insurance
                                                              explained that under Florida law “when the indemnitee
policy on a racehorse. The horse had been insured for
                                                              has not given the indemnitor an opportunity to review,
up to $250,000. 809 F.2d at 757. The horse was injured
                                                              pass upon, or participate in the settlement,” then the
and ultimately died. Id. JDA Farms sued the insurer
                                                              indemnitee must demonstrate “actual as opposed to
and the adjustor GAB, which was hired by insurer to
                                                              potential liability.” Id. at 760 (citations omitted). “If on
evaluate the horse after it was injured. Id. GAB settled
                                                              the other hand GAB received adequate protection during
with JDA Farms for $15,000 and the insurer settled with
                                                              the settlement negotiations, [the insurer] was required to
JDA Farms for $250,000 which was the full amount of
                                                              show only potential liability. In either event [the insurer]
the insurance policy. Id. at 757–58. GAB sued the insurer
                                                              could only recover so much of the settlement as it proved
for reimbursement of the $15,000 it had spent in settling
                                                              was reasonable in amount, (fn 10) and a consequence of
with the JDA Farms; the insurer counterclaimed for the
settlement expenses it had incurred to resolve the claim      GAB's breach of duty.” Id. at 761. (citation omitted). 11
with JDA Farms. Id. at 758. In essence, the insurer's claim
was that that GAB's negligence initiated a chain of events    In the footnote, the court stated:
that caused its ultimate liability on the insurance policy.
                                                                Whether a settlement is reasonable depends upon
Id. at 759.
                                                                “what a reasonably prudent person in the position
                                                                of the defendant would have settled for on the
The case was tried to the jury, which rejected GAB's claim
                                                                merits of the plaintiff's claim.” Home Insurance
against the insurer, found GAB liable to the insurer, and
                                                                Co. v. Advance Machine Co., 443 So.2d 165, 168
awarded $200,000 in damages to the insurer.. Id. at 758–
                                                                (Fla.Dist .Ct.App.1983) (quoting Miller v. Shugart,
59. The insurer appealed claiming that it should have
                                                                316 N.W.2d 729, 735 (Minn.1982)). In determining
been awarded the full measure of its damages, which


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...     08/17/17 Page 36 of 44


  whether a settlement is reasonable, a Florida court             *18 This Court does not find the reasoning in GAB
  would consider not only such objective factors as the          persuasive. First, it ignores the express holding in
  extent of damages, but also such subjective factors as         Home Insurance Co., which concluded that a suit for
  the certainty of liability, the risks of going to trial        contribution towards a settlement did not waive the
  and the chances that the jury verdict might exceed the         attorney-client privilege, even though by statute the party
  settlement offer. Id. at 168–69.                               seeking contribution had to establish the reasonableness
                                                                 of the settlement. Second, Hearn and Pitney–Bowes, upon
Id. at 761. The court then stated:                               which the Eleventh Circuit premised its reasoning to
                                                                 distinguish the Home Insurance Co. decision, did inject
            If [the insurer] introduces evidence
                                                                 into the litigation issues that by their very nature required
            as to the strength of JDA Farms'
                                                                 testimony of the party's attorneys.
            case-as [the insurer] must to prevail
            —it cannot hide behind the shield
                                                                 In Hearn, the plaintiff, Hearn, was a prisoner who brought
            of privilege to prevent GAB
                                                                 a § 1983 civil rights suit against prison officials regarding
            from effectively challenging such
                                                                 his confinement in the prison's mental health unit without
            evidence. [I]t is the rule in Florida
                                                                 a hearing or other review. 68 F.R.D. at 577. Hearn
            that a party who bases a claim on
                                                                 alleged that his confinement was punitive and not for the
            matters which would be privileged,
                                                                 purpose of any legitimate mental health treatment. Id.
            the proof of which will necessitate
                                                                 The defendants asserted the affirmative defenses of good
            the introduction of privileged matter
                                                                 faith and qualified immunity. Id. Hearn contested those
            into evidence, and then attempts to
                                                                 defenses and sought discovery of the legal advice provided
            raise the privilege so as to thwart
                                                                 to the defendants by the state attorney general. Id. It was
            discovery, may be deemed to have
                                                                 Hearn's position that the prison superintendent “harbored
            waived that privilege....
                                                                 ill feelings towards [him] and that [the superintendent]
Id. (quoting Home Insurance Co. v. Advance Machine Co.,          persisted in his allegedly illegal conduct ... after being
443 So.2d 165, 168 (Fla.Dist.Ct.App.1983) (citing Savino         put on notice by the attorney general that such conduct
v. Luciano, 92 So.2d 817, 819 (Fla.1957)). Interestingly,        violated plaintiff's constitutional rights.” Id. at 583. Hearn
the Eleventh Circuit recognized that in Home Insurance           argued that to the extent the information sought was
Co., the Florida court had found that the filing of a            protected by attorney-client privilege, defendants waived
suit for contribution for a settlement, which requires by        the privilege by asserting the defenses of good faith and
statute proof that the amount claimed “is not in excess          qualified immunity. Id.
of what was reasonable,” (443 So.2d at 168 (quoting
Florida Statutes § 768.31), does not waive the attorney-         The Hearn court analyzed the issue of waiver under
client privilege, having distinguished “such a case from         the same three-part test described in Pamida. Id. at
those where the ‘party seeking to avoid discovery has            582. Applying this framework, the court concluded that
injected into litigation issues going to the very heart of the   defendants had waived their attorney-client privilege
litigation.’ “ Id. n. 11 (quoting Home Insurance Co. 443         because they: (1) asserted the affirmative defense of
So.2d at 168 (emphasis in original) (citing Hearn v. Rhay,       good faith; (2) through this affirmative act they placed
68 F.R.D. 574 (E.D .Wash.1975); Pitney–Bowes, Inc. v.            the protected information at issue because the legal
Mestre, 86 F.R.D. 444 (S.D.Fla .1980)). Nevertheless,            advice they received was relevant to their defense; and
relying on Hearn and Pitney–Bowes, the Eleventh Circuit          (3) maintaining the privilege would deprive Hearn of
concluded that the attorney-client privilege had been            information he needed to contest defendants' defense.
waived because “[t]he issues at the ‘very heart’ of this         Id. at 581. Critical to the court's analysis was its
litigation are the liability, either actual or potential,        determination that unlike the ordinary case, where “the
of [the insurer], and the reasonableness of a $250,000           obstruction is not likely to be great, for attorney-client
settlement, for a horse purchased for $7,500, which died         communications are usually incidental to the lawsuit,
from poisoning under suspicious circumstances.” Id.              notwithstanding their possible relevance, and other means
                                                                 of proof are normally available[,] ... [i]n this case, however,
                                                                 the content of defendant's communications with their



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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...    08/17/17 Page 37 of 44


attorney is inextricably merged with the elements of
plaintiff's case and defendants' affirmative defense. These     Id. at 583.
communications are not incidental to the case; they inhere
in the controversy itself, and to deny access to them would     None of the facts before the court in Hearn are present
preclude the court from a fair and just determination of        here. The nature of the claims and defenses in the
the issues.” Id. at 582. Most importantly, the court stated     DJ action have not put Ponce's advice to PETCO
that a “substantial showing of merit to plaintiff's case must   on liability, damages and settlement at issue, nor are
be made” before a court could entertain the disclosure of       they so “inextricably merged” with the elements to be
attorney-client protected information. Id. at 582.              proven to establish coverage and enforceability of the
                                                                Miller–Shugart Agreement. Moreover, there has been no
             *19 The competing interest of                      showing, much less a “substantial showing,” on the merits
            protecting the constitutional rights                of ICNA's defense to the DJ action so as warrant treading
            of prison inmates and protecting                    on the attorney-client privilege and requiring counsel to
            institutional      personnel    from                “lay bare his legal files.”
            harassment are best accommodated
            by allowing discovery of legal                      In Pitney–Bowes, Pitney–Bowes sued a defendant in a
            advice only within the narrow                       declaratory judgment action, seeking a declaration of
            confines outlined above, subject                    its rights under certain patent licensing agreements with
            to the requirement that plaintiff                   the defendant. 86 F.R.D. at 445. Pitney–Bowes sought a
            affirmatively demonstrate the merit                 declaration that the contracts at issue had expired and
            of his case before a court will order               that it was no longer obligated to pay royalties to the
            the defendant state official to lay                 defendant; the defendant countered that the agreements
            bare his legal files.                               had not expired and that, at any rate, the agreements
                                                                were not limited to patent rights, but encompassed
Id. The court then found that Hearn had met this                other issues. Id. Pitney–Bowes' lawsuit asserted that
requirement by submitting affidavits and “numerous              “it had intended to enter into modification of pure
depositions of reliable persons” who stated under oath          patent licensing agreements” with the defendant, but
that the prison superintendent was hostile to Hearn and         then sought to “withhold communications between its
persisted in his conduct toward Hearn even after the            attorneys and executives that might reveal the true intent
state attorney general notified the superintendent that his     behind the agreements.” Relying on Hearn, and applying
conduct violated Hearn's constitutional rights. Id.             the same three-part test of waiver, the Pitney–Bowes court
                                                                concluded that Pitney–Bowes had waived attorney client
The court concluded:                                            privilege because it “injected a narrow issue into the
                                                                dispute, namely, the intent of the parties.... P–B has placed
            [t]hese affidavits and depositions
                                                                in issue the very soul of this litigation the intent of the
            also corroborate the allegations in
                                                                parties with regard to construction of certain terms of the
            the complaint that the conditions
                                                                Agreements.” Id. at 447.
            of plaintiff's confinement were
            deplorable and that plaintiff was
                                                                 *20 Here, the issues of the reasonableness of the
            accorded no due process. * * *
                                                                settlement, or whether it was obtained by collusion or
            Although the court does not accept
                                                                fraud, do not place at issue “the very soul of this
            these allegations as true, it must
                                                                litigation.” In short, the proof of these claims (e.g.
            consider them in a light favorable
                                                                customary evidence on liability and damages, expert
            to plaintiff at the discovery stage. *
                                                                opinion of trial lawyers evaluating this “customary”
            * * Under these circumstances, the
                                                                evidence; verdicts in comparable cases; the likelihood of
            court is satisfied that the need for
                                                                favorable or unfavorable rulings on legal defenses and
            confidentiality must give way to the
                                                                evidentiary issues; the judge's own personal experience
            plaintiff's need to have access to his
                                                                with jury awards in similar areas if the tort action had
            proof. However the court does not
                                                                been tried), does not implicate evidence encompassed in
            reach this conclusion lightly.



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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 38 of 44


the contents of Ponce's communications to PETCO or his         in direct communication with the insurer.” Id. (citations
work product on the case.                                      omitted).

ICNA also cited Waste Mgmt., Inc. v. International              *21 This Court rejects the holding in Waste Mgmt. where
Surplus Lines Ins. Co, 579 N.E.2d 322, 327 (Ill.1991)          the underpinnings of the decision is completely at odds
for the proposition that when parties enter into a             with the facts in this case and the law in Minnesota
Miller–Shugart settlement, they waive the attorney-client      bearing on the relationship between insureds and their
privilege and work product protection by placing the           insurers. 12 As explained in more detail in the discussion
protected information “at issue.” Def. Supp. Mem., p. 6.;      regarding Chomat and Metropolitan Life Ins. Co. below,
Def. Supp. Reply Mem., p. 6 [Docket No. 41]. In that case,     “the very conduct of [Ponce] in the underlying litigation”
the insureds were defendants in two lawsuits involving         is not at issue in determining the enforceability of the
claims against them for hazardous waste disposal sites         Miller–Shugart settlement, and neither the cooperation
(the “Nunn litigation” and the “Miller litigation”). Id.       clause (which was not put into evidence by either ICNA
at 325. The Nunn litigation was tried whereas the              or PETCO) nor the common interest doctrine can have
insureds retained counsel, defended and settled the Miller     application when the carrier has denied coverage. Indeed
litigation. Id. The insureds then sought indemnification       in Minnesota, the insured is treated as the sole client of
under their policy from the insurer for the Miller             the defense attorney hired by the insurer and the attorney
litigation for defense and settlement costs and the insurers   owes allegiance to the insured, not to the insurance
denied coverage. Id. During discovery, the insurer sought      company that hired the attorney. Pine Island Farmers
access to defense counsel's files in the Nunn and Miller       Coop v. Erstad & Riemer, P.A., 649 N.W.2d 444, 449
litigations, which the insureds resisted on the ground of      (Minn.2002) (defense counsel hired by insurer to defend
privilege. Id.                                                 a claim against insureds represents the insureds, “defense
                                                               counsel owes a duty of undivided loyalty to the insured
The Illinois Supreme Court determined that the attorney-       and must faithfully represent the insureds interests.”); see
client privilege had no application in the circumstances       also Crum v. Anchor Cas. Co., 264 Minn. 378, 391–92,
of the case. First, the court held that the files were “at     119 N.W.2d 703, 712 (1963) (“[a]n attorney retained by
issue” because “it is the very conduct of defense counsel      an insurer to defend its insured, as long as he represents
in the underlying litigation which is the basis of insurers'   the insured, is under the same obligations of fidelity and
declaratory judgment action and its defense to insureds'       good faith as if the insured had retained the attorney
declaratory judgment action.” Id. at 327. Second, the          personally.”)
court determined that the “duty to cooperate” clause in
the insureds' contract with the insurer, “imposed upon         In Chomat, plaintiffs sued a company and their officers for
the insureds the duty to assist insurers in the conduct        severe injuries. Id. at 536. The insurance company denied
of suits and in enforcing any right to contribution or         coverage and the defendants commenced a declaratory
indemnity against persons potentially liable to insureds,”     judgment action against the insurer and their insurance
even if the parties were now adverse to each other. Id. at     agent. Id. The defendants settled with the plaintiffs,
328. The court reasoned: “In light of the plain language
                                                               and entered into a “Coblentz agreement,” 13 in which
of the cooperation clause in particular, and language in
                                                               defendants assigned their claim for coverage against the
the policy as a whole, it cannot seriously be contended
                                                               insurer and agent to the plaintiffs, and the plaintiffs
that insureds would not be required to disclose contents
                                                               were substituted as plaintiffs in the declaratory judgment
of any communications they had with defense counsel
                                                               action. Id. at 536–37. After coverage was granted, the
representing them on a claim for which insurers had the
                                                               insurer attempted to depose the settling plaintiffs' lawyer
ultimate duty to satisfy.” Id.
                                                               on the reasonableness and good faith of the Coblentz
                                                               agreement. Like a Miller–Shugart agreement, “under a
Third, the court relied on the “common interest doctrine,”
                                                               Coblentz agreement, ‘the injured party must bring an
under which the defense attorney was deemed to be
                                                               action against the insurer and prove coverage, wrongful
working for the insurer and insured's “common interest,”
                                                               refusal to defend, and that the settlement was reasonable
again even when this attorney was “neither retained by nor
                                                               and made in good faith.’ “ Id. (quotation and citations
                                                               omitted).


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...    08/17/17 Page 39 of 44



As an initial matter, the parties and court agreed that          The court concluded the insured had not placed
“plaintiffs' filing of the action against the insurer and        any information or advice contained in the privileged
initial burden of going forward 14 did not, without more,        documents at issue based on the following analysis
create a waiver of the attorney-client privilege.” Id. at 537–   (which this Court quotes at length because of its sound
36 (citations omitted). Nevertheless, the insurer argued         reasoning):
that since plaintiffs had the initial burden of going forward
                                                                   Because of the important public policy considerations
on the issues of reasonableness and good faith, these
                                                                   that necessitated the creation of the attorney-client
issues had been injected by the plaintiffs into the suit and
                                                                   privilege, the “at issue,” or implied waiver, exception is
consequently, the attorney-client privilege was waived. Id.
                                                                   invoked only when the contents of the legal advice is
at 538. The court rejected the insurer's claims stating:
                                                                   integral to the outcome of the legal claims of the action.
                                                                   Such is the case when a party specifically pleads reliance
  *22 The determination of whether a settlement                    on an attorney's advice as an element of a claim or
 is reasonable is made by a “reasonable person”                    defense, voluntarily testifies regarding portions of the
 standard. If counsel's advice were required to be                 attorney-client communication, or specifically places
 disclosed, it would still not be binding on the insurance         at issue, in some other manner, the attorney-client
 company. Instead, proof of reasonableness is ordinarily           relationship. In those instances the party has waived
 established through use of expert witnesses to testify            the right to confidentiality by placing the content of
 about such matters as the extent of the defendant's               the attorney's advice directly at issue because the issue
 liability, the reasonableness of the damages amount in            cannot be determined without an examination of that
 comparison with compensatory awards in other cases,               advice. If the information is actually required for a
 and the expense which would have been required for the            truthful resolution of the issue on which the party has
 settling defendants to defend the lawsuit.                        raised ... the party must either waive the attorney-
***                                                                client privilege as to that information or it should be
                                                                   prevented from using the privileged information to
  In addition to making a prima facie showing of                   establish the elements of the case.
  reasonableness, the plaintiffs must also make a prima
  facie showing of good faith. Here, too, making a prima         ***
  facie case does not implicate privileged information.
  Without attempting a comprehensive definition, we                 *23 Merely because the communications are relevant
  think a bad faith claim includes a false claim, or               does not place them at issue. If admitting that one
  collusion in which the plaintiffs agree to share the             relied on legal advice in making a legal decision put
  recovery with the insured. These matters involve the             the communications relating to the advice at issue, such
  underlying facts of the case and do not involve the              advice would be at issue whenever the legal decision
  injection of privileged matters.                                 was litigated. If that were true, the at issue doctrine
                                                                   would severely erode the attorney-client privilege and
Id. (footnote omitted).                                            undermine the public policy considerations upon which
                                                                   it is based.
In Metropolitan Life Ins. Co. v. Aetna Cas. & Sur. Co.,
730 A .2d 51, 64 (Conn.1999) the insured brought an              ***
action against excess liability insurer to recover cost of
settling asbestos tort cases after the insurer refused to          Where, as in the present case, an insured alleges that
defend the insured. The trial court ordered the insured            an insurer improperly has failed to defend and provide
to disclose documents containing communications with               coverage for underlying claims that the insured has
attorneys concerning settlement of the tort cases. The             settled the insured has the burden of proving that
Connecticut Supreme Court reversed, finding that neither           the claims were within the policy's coverage and that
the “at issue” exception, the cooperation clauses in               the settlements were reasonable. The reasonableness
the insurance contract or the common interest doctrine             of the settlement, in turn, should be examined under
required disclosure.                                               an objective standard. Reasonableness is determined



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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...   08/17/17 Page 40 of 44


  according to factors such as, but not limited to,             become conflicted as soon as the insurer declines to cover
  “whether there is a significant prospect of an adverse        the claims. Thus, many courts have rejected the theory
  judgment, whether settlement is generally advisable,          proposed by the defendants.” Id. at 61–62 (footnote and
  [whether] the action is taken in good faith, and [whether     citations omitted).
  it is] not excessive in amount....” J. Stempel, Law of
  Insurance Contract Disputes (2d Ed.1999) § 9.02[b], pp.        *24 After reviewing the cases cited by both parties
  9–50 through 9–51.                                            and the test of enforceability of a Miller–Shugart
                                                                settlement—reasonableness and lack of fraud or collusion
***                                                             —this Court finds, as did the courts in Chomat and
                                                                Metropolitan Life Ins. Co., that there has been no waiver
  It would be quite different if the plaintiff sought to        by PETCO of the attorney-client privilege with respect
  prove reasonableness based upon the advice of counsel.        to the communications between PETCO and Ponce
  In that instance, counsel's advice would be at issue—but      or the work product prepared by Ponce on PETCO's
  that is not the situation in the present case. Accordingly,   behalf. First, the simple act of entering into a Miller–
  although the reasonableness of the settlements is             Shugart agreement does not result in a waiver because
  directly at issue, the exact communications between           there is no evidence before this Court to suggest that
  the plaintiff and its attorneys regarding the decision        PETCO intends to rely on advice of its counsel to
  to settle, which would aid only in a subjective               establish the reasonableness of the settlement. The test for
  determination, are not at issue. In sum, the defendants       reasonableness of a Miller–Shugart settlement is objective.
  in the present case can assess whether the settlements of     See Miller v. Shugart, 316 N.W.2d at 735. Under this
  the asbestos tort actions were reasonable by examining        objective standard, Ponce's subjective beliefs or opinions
  the facts of the asbestos tort actions—the same material      about the settlement are irrelevant. As PETCO pointed
  that the plaintiff had available to it when making its        out, implied waiver occurs “when the insured affirmatively
  decision—and by consulting experts, just as the plaintiff     places privileged information at issue or when a party
  had the opportunity to do.                                    actually disclosed the privileged information.” Plaintiffs'
                                                                Reply Memorandum of Law in Support of the Motion
Id. at 52–56 (quotations, footnotes and citations omitted).
                                                                to Quash the Subpoena (“Pl. Reply Mem.”) [Docket
                                                                No. 42], p. 3. Here, PETCO (and now Medtronic as
As for the insurer's reliance on the cooperation clause
                                                                PETCO's assignee) has represented that it does not need
to support its motion for disclosure of attorney-
                                                                privileged material to demonstrate the reasonableness of
client privileged communications, the court held that
                                                                the settlement agreement. Pl. Supp. Mem., p. 5; Pl. Reply
“disclosure pursuant to the cooperation clauses possibly
                                                                Mem., p. 3 (“[T]here will be no affirmative act on the
could be required only if and when the insurance company
                                                                part of PETCO and IPSD that places privileged material
participates ‘in the defense’ of underlying cases. In
                                                                ‘at issue.’ PETCO and IPSD will use non-privileged
the present case, the cooperation clauses cannot justify
                                                                material to meet its burden. Namely, expert affidavits
disclosure because the defendants have failed to fulfill
                                                                and affidavits from PETCO and IPSD.”). Under these
this predicate[,]” and particularly, where they have denied
                                                                circumstances, where PETCO does not intend to rely on
coverage. Id. at 58–59.
                                                                the advice and evaluations performed by Ponce and his
                                                                firm to establish the reasonableness of the settlement it
Finally, the court found there could be no common
                                                                reached with Medtronic, there can be no waiver.
interest in defeating or minimizing claims against the
insured where the insurer has refused to cover the insured's
                                                                Second, neither the agreement of PETCO to cooperate
claims. Id. at 61. “Furthermore, in a case such as the
                                                                with Medtronic in the DJ action nor the substitution
present one, where the insured retained its own attorneys
                                                                of Medtronic's counsel in that suit, can be construed
and acted independently of its insurers in settling the
                                                                as a waiver. PETCO has assigned its coverage claim
underlying cases, the insured and insurer have even less
                                                                to Medtronic and Medtronic has chosen to substitute
commonality of interests. In either scenario, they do
                                                                its attorneys for PETCO's lawyers. Medtronic and its
not share common interests in the characterization of
                                                                lawyers now stand in the shoes of PETCO. In short, while
the claims or in the settlement of such claims. * * *
                                                                previously the parties had been adverse, at this juncture,
Moreover, an insured's and insurer's interests immediately


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...     08/17/17 Page 41 of 44


their interests are “entirely aligned” and they share a           it by examining PETCO's attorneys. In short, ICNA is not
common interest of seeing that Medtronic collects its             entitled Ponce's testimony or the documents sought by the
judgment against ICNA. See Sandoval v. American Bldg.             subpoena to establish the facts underlying the invalidity of
Maint. Indus., Inc. 267 F.R.D. 257, 273 (D.Minn.2007)             the settlement.
(“[p]ersons who consult an attorney together do not
necessarily waive the attorney-client privilege, providing        Finally, ICNA's suggestion that there would be no waiver
there is a common interest shared by persons with respect         if:
to the subject matter of the communications * * *the
common interest “may be ‘either legal, factual or strategic         (1) PETCO “elected to continue to prosecute the
in character.”) (citing In re Grand Jury Subpoena Duces             declaratory judgment action either with its existing
Tecum, 112 F.3d 910, 922 (8th Cir.1997 and quoting                  counsel, or new, unaffiliated counsel;” or (2) had
                                                                    Medtronic “been substituted for, and in place of,
Restatement of Evidence § 126(1), cmt.e)). 15 Thus, the
                                                                    PETCO as the proper plaintiff to prosecute the
fact that counsel for PETCO and Medtronic may now
                                                                    declaratory judgment action either with its existing
have access to privileged communications and work
                                                                    counsel, or new, unaffiliated counsel;” or (3) had
product of the other does not amount to a waiver of
                                                                    Medtronic “intervened into the declaratory judgment
their communications and work product such that their
                                                                    action, and both Medtronic and PETCO could have
opponent, ICNA, is entitled to the information. It only
                                                                    continued to prosecute the declaratory judgment action
means that by now joining forces to seek coverage from
                                                                    together, but with separate, unaffiliated counsel—either
ICNA that PETCO and Medtronic have waived whatever
                                                                    existing or new,”
privileges they may have possessed as to each other, and
both will still be obligated to keep confidential what            are distinctions without a difference. See Def. Supp.
they have learned from this alliance. See Metropolitan            Reply Mem., pp. 6–7. Having made the decision to deny
Life Ins. Co., 730 A.2d at 65–66 (“[D]efendants' assertion        coverage to PETCO (which then led PETCO to sue
that because the plaintiff gave Travelers access to certain       ICNA), ICNA, as an adverse party to PETCO, had no
privileged documents that are at issue in the present case,       rights during the pendency of the Medtronic action to
it has waived its privilege vis-a-vis the defendant excess        discover the privileged communications between PETCO
liability insurers, is without merit.... [A]ny such disclosures   and its retained counsel or that counsel's work product,
made to Travelers pursuant to defending the asbestos tort         and the settlement by PETCO of the Medtronic action
actions only waived privileges as to Travelers, who now           without the participation of ICNA does not change
has an obligation to keep those disclosures confidential.”).      that result. Stated otherwise, the situation here is no
                                                                  different than a scenario where PETCO simply settled
 *25 As to the assessment of fraud or collusion, ICNA             with Medtronic and then continued on with its coverage
noted that in some cases, a Miller–Shugart settlement             action seeking reimbursement for the settlement. Surely,
that attempts to shift risk of liability for payment from         ICNA, as PETCO's opponent, would not claim that it
one insurer to another may be collusive as a matter               was entitled to delve into the communications and work
of law. Defendant's Second Supplemental Responsive                product of its adversary's counsel to determine whether
Memorandum of Law, p. 5 [Docket No. 41]. ICNA                     the settlement reached by PETCO was reasonable. The
also argued that PETOCO's hiring of Medtronic's former            Miller–Shugart settlement, assignment of the coverage
attorneys to prosecute the coverage action, may be also           claim to Medtronic, substitution of counsel, and
evidence of collusion. Id. Whether the evidence will lead         cooperation between Medtronic and PETCO does not
to these statements being deemed “true” is not yet known.         lead to a different outcome.
Nevertheless, these possible “truisms” do not lead this
Court to conclude that PETCO has waived its right                 The Court's inquiry does not end with its analysis
to assert the attorney-client privilege or the protections        of waiver, however. Pursuant to Fed.R.Civ.P. 26(b)(3):
of the work product doctrine. Where PETCO does not                “[o]rdinarily, a party may not discover [work product]
intend to rely on the advice and work product Ponce               documents” unless the party seeking the discovery “shows
performed in the Medtronic action in order to show that           that it has a substantial need for the materials to prepare
the settlement was not based on collusion or fraud, then if       its case and cannot, without undue hardship, obtain their
ICNA intends to prove otherwise, it will not be able to do        substantial equivalent by other means.” Fed.R.Civ.P.


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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...    08/17/17 Page 42 of 44


26(b)(3)(A)(ii). If the party seeking such discovery makes       discovery directed to PETCO and Medtronic. There is
such a showing, the court may order the materials                no basis for shifting the burden and expense of searching
produced, but must “must protect against disclosure of           and printing ECF records on to Ponce, a non-party.
the mental impressions, conclusions, opinions, or legal          See Fed.R.Civ.P. 45(c)(3)(A)(iv) (the Court must quash
theories of a party's attorney or other representative           a subpoena that subjects a person to undue burden);
concerning the litigation.” Fed.R.Civ.P. 26(b)(3)(B).            United States v. Columbia Broad. Sys., Inc., 666 F.2d
ICNA argued that the communications, opinions or                 364, 371 (9th Cir.1982) (“Although party witnesses must
advice Ponce exchanged with his client or its direct             generally bear the burden of discovery costs, the rationale
insurers cannot reasonably be discovered in any other            for the general rule is inapplicable where the discovery
way except through the subpoena. Def. Mem., pp. 6,               demands are made on non-parties. Nonparty witnesses are
12. This is true, but irrelevant. Rule 26 carves out an          powerless to control the scope of litigation and discovery
exception for attorney work product, which courts must           and should not be forced to subsidize an unreasonable
be particularly careful to guard. Therefore, while ICNA          share of the costs of a litigation to which they are not a
may want communications, opinions or advice Ponce                party.”); Cusumano v. Microsoft Corp., 162 F.3d 708, 717
exchanged with his client or its direct insurer, it is exactly   (1st Cir.1998) (“[Nonparties] have no dog in [the] fight. *
that kind of work product that ICNA is not entitled to           * * Accordingly, concern for the unwanted burden thrust
have. Cf. Metropolitan Life Ins. Co., 730 A.2d at 56 (“The       upon non-parties is a factor entitled to special weight in
trial court in the present case seems to have misconstrued       evaluating the balance of competing needs.”)
the at issue exception by focusing on the defendants'
need for the documents. When privileged communications           Similarly, there is no reason that ICNA cannot seek
are not at issue, the opposing party cannot destroy the          discovery from PETCO on its relationship with its other
attorney-client privilege by merely claiming a need for          insurer, and discovery directed to Medtronic and PETCO
the documents. It would be inconsistent with the nature          regarding any settlement discussions, negotiations, offers,
and purpose of the [attorney-client] privilege to make an        and demands that occurred between those two parties
exception to the privilege based only on the unavailability      during the Medtronic action, and any evaluations that
of information from other sources.”) (footnotes, internal        were provided from one party to the other. 17
quotations and citations omitted).
                                                                 As to that portion of the subpoena that seeks documents
                                                                 regarding experts “you” plan to call at trial or consulted
   D. Non–Privileged Documents
                                                                 in anticipation of litigation or preparation for trial, the
 *26 Although the Court has concluded that there has
                                                                 request makes no sense when directed to Ponce. Ponce is
been no waiver of attorney-client privilege or the work-
                                                                 not counsel for PETCO in this DJ action and is not calling
product protection, it is also true that ICNA's subpoena
                                                                 witnesses for trial on PETCO's behalf. That portion of
seeks documents that do not appear to this Court to
                                                                 ICNA's subpoena is also quashed.
be privileged or protected, such as statements, pleadings,
correspondence between lawyers (presuming that ICNA
                                                                 Finally, to the extent that ICNA is requesting documents
is seeking correspondence between opposing counsel),
                                                                 regarding any experts who provided an evaluation in the
and demands. ICNA also sought to have Ponce produce
                                                                 Medtronic action, including “the individual's curriculum
documents regarding any individual “whom you plan to
                                                                 vitae, the individual's report, opinions, findings, or
call as an expert witness at trial, whom you have consulted
                                                                 evaluation, and any photographs, tests, results or other
in anticipation of litigation or preparation for trial, or who
                                                                 bases used, considered or relied upon by the individual in
has provided an evaluation of this matter in the Medtronic
                                                                 rendering such a report, opinion, finding or evaluation,”
action.” 16                                                      this Court find that this request should be directed to
                                                                 PETCO, which can then determine whether it is relevant
Ponce argued that the statements, pleadings, discovery           to the DJ action and whether it is willing to disclose its
and expert information sought were available elsewhere           consulting experts opinions.
and he should not be forced to produce them. Pl. Mem.,
p. 7. This Court agrees. These records are readily and
equally accessible to ICNA through the public record or          IV. CONCLUSION



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        CASE
PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...          08/17/17 Page 43 of 44


 *27 For all of the foregoing reasons, the PETCO                     All Citations
plaintiffs' and Ponce's motion to quash ICNA's subpoena
is granted.                                                          Not Reported in F.Supp.2d, 2011 WL 2490298



Footnotes
1      IPSD is a wholly owned subsidiary of PETCO. Amended Complaint, ¶ 14, Civ. No. 10–682 [Docket No. 14].
2      Neither party provided the Court with a copy of the executed Miller–Shugart Agreement. However, ICNA submitted a copy
       of the proposed Miller–Shugart Agreement and Stipulation and Miller–Shugart Assignment. See Butler Aff., Ex. 1. PETCO
       has not disputed that the draft submitted is, in fact, the Millar–Shugart Agreement and Assignment at issue. Therefore,
       in the absence of any conflicting information, this Court has relied on the Miller–Shugart Agreement submitted by ICNA.
3      Paragraph 13 refers to $236,762.78, but based on Paragraph 14, the Court believes that may be an error and the parties
       meant to state $286,762.78.
4      Minn.Stat. § 595.02(b) provides: “An attorney cannot, without the consent of the attorney's client, be examined as to any
       communication made by the client to the attorney or the attorney's advice given thereon in the course of professional
       duty; nor can any employee of the attorney be examined as to the communication or advice, without the client's consent.”
5      The Court notes that ICNA relies extensively on the three-factor test enunciated by the Eighth Circuit in Pamida to
       determine whether there has been a waiver of the attorney-client privilege. See Pamida, 281 F.3d at 731 (“Under
       Nebraska law, an implied waiver of the attorney-client privilege occurs when “(1) assertion of the privilege was a result of
       some affirmative act, such as filing suit, by the asserting party; (2) through this affirmative act, the asserting party put the
       protected information at issue by making it relevant to the case; and (3) application of the privilege would have denied
       the opposing party access to information vital to his defense.”) (quoting League v. Vanice, 221 Neb. 34, 374 N.W.2d
       849, 856 (Ne.1985) (citations omitted)). However, as evident by the quote, recognizing that state law supplies the rule of
       decision on privilege in diversity cases, the court applied Nebraska law. While Minnesota's articulation of waiver is not
       substantially different than Nebraska's, this three-factor test has not been adopted in Minnesota.
6      Corn Plus and Lumbermens intervened in the CNA state declaratory judgment action, Wanzek was dismissed, the parties
       were realigned so that Corn Plus became the plaintiff and CNA and Lumbermens became defendants, and the declaratory
       judgment action was removed to federal court. [Corn Plus Docket No. 187] (Order Oct. 5, 2006 at p. 2).
7      At the same time, ICNA acknowledged six other cases that did not find waiver of privilege. Def. Supp. Mem., p. 6
       (citing Allstate Ins. Co. v. Levesque, 263 F.R.D. 663 (M.D.Fla.2010); Ekeh v. Hartford Fire Ins. Co., 39 F.Supp.2d 1216
       (N.D.Cal.1999); Metropolitan Life Ins. Co. v. Aetna Cas & Sur. Co., 730 A.2d 51 (Conn.1999); Chomat v. Northern
       Ins. Co. of New York, 919 So.2d 535 (Fla.Dist.Ct.App.2006); Lee v. Progressive Express Ins. Co., 909 So.2d 475
       (Fla.Dist.Ct.App.2005); Home Ins. Co. v. Advance Machine Co., 443 So.2d 165 (Fla.Dist.Ct.App.1983).
8      Plaintiffs claimed they were injured by defendant-employer's use of “psychodynamic supervision training,” which was
       “primarily sexually oriented.” Lane, 1990 WL 255906 at *1.
9      The Lane decision has not been relied upon or cited by any court outside of Pennsylvania.
10     GAB Bus. Servs. has only been cited positively once since its publication.
11     The court noted that whether the insurer had to prove actual or potential liability to JDA Farms, expert testimony and
       other evidence relating to the strength of JDA Farms' claim “was not only relevant, but absolutely essential.” Id. at 761–
       62. However, at trial, the insurer introduced no evidence to establish “why it settled and whether the settlement was
       reasonable, ... due in part to an erroneous ruling that such evidence was inadmissable.” Id. at 762. The court stated that
       this was a basis for remand. Id.
12     The Waste Mgmt. holding, that a cooperation clause in an insurance contract destroys all expectation of attorney-client
       privilege, has been soundly rejected by courts across the country. See Bituminous Cas. Corp. v. Tonka Corp., 140
       F.R.D. 381, 386–87 (D.Minn.1992) (“This court finds the reasoning of the Illinois Supreme Court [in Waste Management]
       to be fundamentally unsound. This court rejects the conclusion that because an insured agrees to cooperate with
       the insurance company, in the event he is sued or otherwise makes a claim under the policy, that the insured has
       thereby forever contractually waived the attorney-client privilege.”); Eastern Air Lines, Inc. v. United States Aviation
       Underwriters, Inc., 716 So.2d 340, 342–43 (DCA3rd Fla.1998) (“we reject the rule announced by the Illinois Supreme
       Court in Waste Management ” and collecting cases from other jurisdictions that have rejected the Waste Management
       rule, including California, Delaware, Minnesota, New Jersey, Ohio and Pennsylvania); Rockwell Int'l Corp. v. Superior




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PETCO Animal   0:16-cv-00139-DWF-LIB
             Supplies                            Document
                      Stores, Inc. v. Insurance Co.              65 Filed
                                                    of..., Not Reported in...          08/17/17 Page 44 of 44


       Court, 26 Cal.App.4th 1255, 1262–63 (Cal.Ct.App.1994) (“[w]e are not the first court to refuse to adopt the views
       expressed in Waste Management ”); Remington Arms Co. v. Liberty Mut. Ins. Co., 142 F.R.D. 408, 416–17 (D.Del.1992)
       (explicitly rejecting Waste Management ); North River Ins. Co. v. Philadelphia Reinsurance Corp., 797 F.Supp. 363, 369
       (D.N.J.1992) (“[t]his Court ... rejects the reasoning of Waste Management.”).
         Similarly, the Court notes that the sister court in this district rejected the “common interest” exception as a basis for
         requiring disclosure of attorney-client privileged documents. See Bituminous Cas. Corp., 140 F.R.D. at 386–87. (“This
         court also finds unsound the Illinois Supreme Court's extension of the “common interest” exception to the attorney-
         client privilege. When an attorney acts for two different clients who each have a common interest, communications of
         either party to the attorney are not necessarily privileged in subsequent litigation between the two clients. The Waste
         Management opinion extends this doctrine to hold the attorney-client privilege unavailable to an insured even where
         the insured's attorney never represented the insurance company, and was not even retained by the insurance company
         to represent the insured. This reasoning is unsound. The rationale which supports the ‘common interest” ‘ exception
         to the attorney-client privilege simply doesn't apply if the attorney never represented the party seeking the allegedly
         privileged materials.”) (citation omitted).
13     Coblentz v. American Surety Co. of New York, 416 F.2d 1059 (5th Cir.1969).
14     With a Coblentz agreement, the claimant must “assume the burden of initially going forward with the production of
       evidence sufficient to make a prima facie showing of reasonableness and lack of bad faith, even though the ultimate
       burden of proof will rest upon the carrier.” Chomat, 919 So.2d at 537 (quotation and citations omitted).
15     “The common interest privilege is not an independent basis for privilege, but an exception to the general rule that
       the attorney-client privilege is waived when privileged information is disclosed to a third party.” Edna S. Epstein, The
       Attorney–Client Privilege and the Work–Product Doctrine, 196 (American Bar Association Section of Litigation, 4th
       ed.2001). The common interest privilege assumes “there is a valid basis for exchanging information with a third party
       without undermining the requirement of confidentiality for the attorney-client privilege to apply.” Id. “In effect, it states
       that privileged communications shared among and within some group of people will be deemed to have been made in
       confidence.” Id. According to Epstein, there are three situations where this exception is deemed to apply. Id. at 200–
       206. The first being a single attorney representing multiple clients in the same matter (id. at 200–201); the second is
       when multiple parties with separate attorneys share a common defense (id.); and the third situation arise “when two or
       more clients share a common legal or commercial interest and, therefore, share legal advice with respect to that common
       interest.” Id. at 203. “The common interest doctrine encourages parties working with a common purpose to benefit from the
       guidance of counsel, and thus avoid pitfalls that otherwise might impair their progress toward their shared objective.” Id.
16     In its Supplemental Reply, ICNA urged:
             At a bare minimum, this Court should find that privilege has been waived, and to allow INA to explore through
             deposition testimony and discovery, as to three specific areas of inquiry: 1) the relationship between PETCO and
             its other insurer(s), in light of the precedent recognizing that an attempt to shift the risk from one insurer to another
             is collusive as a matter of law; 2) any settlement discussions, negotiations, offers, demands, or evaluations that
             occurred on behalf of Medtronic or PETCO, since Minnesota courts have routinely recognized the importance of
             such evidence on a finding of reasonableness; and 3) all billing records and other evidence supporting the amount
             of fees allegedly incurred in the defense of the underlying litigation, which PETCO is seeking to recover from INA
             in this matter.
          Def. Supp. Reply, p. 12 n. 1.
17     As for ICNA's request that Ponce be ordered to produce “all billing records and other evidence supporting the amount
       of fees allegedly incurred in the defense of the underlying litigation, which PETCO is seeking to recover from INA in
       this matter,” (Def. Supp. Reply, p. 12 n. 1), ICNA did not ask for billing records in its subpoena. Thus, that issue is not
       properly before the Court.


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